Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 1 of 73 Page ID
                                 #:20356




                        Exhibit C
                 Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 2 of 73 Page ID
                                                  #:20357


                                Exhibit C: Materials Relied On For Opinion No. 1

                                                  Documents

                   Title                         Author           Date             Bates No.     Trial Exh.
                                                                                                    No.
Tweets and Twitter messages to/from         Jason Cline        5/16/2022    CLINE00000034-36     N/A
@Jclineshow
Email from Thomas Lehman to Ryder Ripps     Thomas Lehman      6/9/2022     LEHMAN0000002        N/A

Tweets from @pauly0x                        Jeremy Cahen       10/4/2022 - LEHMAN0000004         N/A
                                                               10/5/2022
Text messages between Thomas Lehman and     Thomas Lehman,     N/A         LEHMAN0000005         N/A
Jeremy Cahen                                Jeremy Cahen
Text messages between Thomas Lehman and     Thomas Lehman,     N/A          LEHMAN0000006        N/A
Jeremy Cahen                                Jeremy Cahen
Text messages between Thomas Lehman and     Thomas Lehman,     4/11/2022    LEHMAN0000007        N/A
Jeremy Cahen                                Jeremy Cahen
Text messages between Thomas Lehman and     Thomas Lehman,     4/11/2022    LEHMAN0000008        N/A
Jeremy Cahen                                Jeremy Cahen
Text messages between Thomas Lehman and     Thomas Lehman,     6/25/2022    LEHMAN0000009        N/A
Jeremy Cahen                                Jeremy Cahen
Text messages between Thomas Lehman and     Thomas Lehman,     6/25/2022    LEHMAN0000010        N/A
Jeremy Cahen                                Jeremy Cahen
Text messages between Thomas Lehman and     Thomas Lehman,     7/4/2022 -   LEHMAN0000011        N/A
Jeremy Cahen                                Jeremy Cahen       7/5/2022
                Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 3 of 73 Page ID
                                                 #:20358


                  Title                         Author           Date             Bates No.     Trial Exh.
                                                                                                   No.
Text messages between Thomas Lehman and    Thomas Lehman,     N/A         LEHMAN0000012         N/A
Jeremy Cahen                               Jeremy Cahen
Text messages between Thomas Lehman and    Thomas Lehman,     5/18/2022 LEHMAN0000013           JTX-918
Jeremy Cahen                               Jeremy Cahen       to
                                                              11/26/2022
Text messages between Thomas Lehman and    Thomas Lehman,     5/20/2022 LEHMAN0000070           N/A
[Redacted - PII]                           [Redacted - PII]
Text messages between Thomas Lehman and    Thomas Lehman,     5/25/2022   LEHMAN0000071         N/A
[Redacted - PII]                           [Redacted - PII]
Text messages between Thomas Lehman and    Thomas Lehman,     5/25/2022   LEHMAN0000072         N/A
[Redacted - PII]                           [Redacted - PII]
Text messages between Thomas Lehman and    Thomas Lehman,     5/25/2022   LEHMAN0000073         N/A
[Redacted - PII]                           [Redacted - PII]
Text messages between Thomas Lehman and    Thomas Lehman,     5/25/2022   LEHMAN0000074         N/A
[Redacted - PII]                           [Redacted - PII]
Text messages between Thomas Lehman and    Thomas Lehman,     5/25/2022   LEHMAN0000075         N/A
[Redacted - PII]                           [Redacted - PII]
Text messages between Thomas Lehman and    Thomas Lehman,     5/25/2022   LEHMAN0000076         N/A
[Redacted - PII]                           [Redacted - PII]
Text messages between Thomas Lehman and    Thomas Lehman,     5/25/2022   LEHMAN0000077         JTX-631
[Redacted - PII]                           [Redacted - PII]
Text messages between Thomas Lehman and    Thomas Lehman,     5/25/2022   LEHMAN0000078         JTX-985
[Redacted - PII]                           [Redacted - PII]
Text messages between Thomas Lehman and    Thomas Lehman,     5/27/2022   LEHMAN0000079         N/A
[Redacted - PII]                           [Redacted - PII]



                                                      2
                 Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 4 of 73 Page ID
                                                  #:20359


                   Title                         Author           Date             Bates No.     Trial Exh.
                                                                                                    No.
Text messages between Thomas Lehman and     Thomas Lehman,     6/6/2022    LEHMAN0000080         N/A
[Redacted - PII]                            [Redacted - PII]
Text messages between Thomas Lehman and     Thomas Lehman,     6/24/2022   LEHMAN0000081         JTX-986
[Redacted - PII]                            [Redacted - PII]
Text messages from Thomas Lehman            Thomas Lehman      6/25/2022   LEHMAN0000082         N/A

Text messages from Thomas Lehman            Thomas Lehman      6/25/2022   LEHMAN0000083         N/A

Text messages between Thomas Lehman and     Thomas Lehman,     8/29/2022   LEHMAN0000084         N/A
[Redacted - PII]                            [Redacted - PII]
Text messages between Thomas Lehman and     Thomas Lehman,     5/29/2022   LEHMAN0000086         N/A
Nataleigh Kohn                              Nataleigh Kohn
Text messages between Thomas Lehman and     Thomas Lehman,     5/29/2022   LEHMAN0000087         N/A
Nataleigh Kohn                              Nataleigh Kohn
Text messages between Thomas Lehman and     Thomas Lehman,     5/20/2022   LEHMAN0000088         N/A
Nataleigh Kohn                              Nataleigh Kohn
Text messages between Thomas Lehman and     Thomas Lehman,     5/24/2022   LEHMAN0000089         N/A
Nataleigh Kohn                              Nataleigh Kohn
Text messages from Nataleigh Kohn           Nataleigh Kohn     5/24/2022   LEHMAN0000090         N/A

Text messages between Thomas Lehman and     Thomas Lehman,     5/24/2022   LEHMAN0000091         N/A
Nataleigh Kohn                              Nataleigh Kohn
Text messages from Nataleigh Kohn           Nataleigh Kohn     5/24/2022   LEHMAN0000092         N/A


                                                       3
                Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 5 of 73 Page ID
                                                 #:20360


                  Title                         Author           Date             Bates No.     Trial Exh.
                                                                                                   No.
Text messages between Thomas Lehman and    Thomas Lehman,     5/27/2022    LEHMAN0000093        N/A
Nataleigh Kohn                             Nataleigh Kohn
Text messages from Thomas Lehman           Thomas Lehman      6/20/2022    LEHMAN0000094        N/A

Text messages between Thomas Lehman and    Thomas Lehman,     6/20/2022    LEHMAN0000095        N/A
Nataleigh Kohn                             Nataleigh Kohn
Text messages between Thomas Lehman and    Thomas Lehman,     6/20/2022    LEHMAN0000096        N/A
Nataleigh Kohn                             Nataleigh Kohn
Text messages between Thomas Lehman and    Thomas Lehman,     6/20/2022    LEHMAN0000097        N/A
Nataleigh Kohn                             Nataleigh Kohn
Text messages between Thomas Lehman and    Thomas Lehman,     6/20/2022    LEHMAN0000098        N/A
Nataleigh Kohn                             Nataleigh Kohn
Text messages from Thomas Lehman           Thomas Lehman      6/20/2022    LEHMAN0000099        N/A

Text messages between Thomas Lehman and    Thomas Lehman,     8/28/2022    LEHMAN0000100        N/A
Nataleigh Kohn                             Nataleigh Kohn
Text messages between Thomas Lehman and    Thomas Lehman,     6/2/2022     LEHMAN0000101        N/A
Nataleigh Kohn                             Nataleigh Kohn
Text messages between Thomas Lehman and    Thomas Lehman,     6/2/2022 -   LEHMAN0000102        N/A
Nataleigh Kohn                             Nataleigh Kohn     6/3/2022




                                                      4
                 Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 6 of 73 Page ID
                                                  #:20361


                   Title                          Author          Date             Bates No.     Trial Exh.
                                                                                                    No.
Text messages between Thomas Lehman,          Thomas Lehman,   5/12/2022 - LEHMAN0000108         JTX-1008
Daniel Berger, and Richard Berger             Daniel Berger,   10/4/2022
                                              Richard Berger
Text messages between Thomas Lehman and       Thomas Lehman,   6/5/2022      LEHMAN0000109       N/A
Daniel Berger                                 Daniel Berger
Text messages between Thomas Lehman,          Thomas Lehman,   6/5/2022 -    LEHMAN0000110       N/A
Daniel Berger, and Richard Berger             Daniel Berger,   9/19/2022
                                              Richard Berger
Thomas Lehman and Michael Hirsch (0xHirsch)   Thomas Lehman,   5/26/2022 -   LEHMAN0000111       JTX-1009
Messages                                      Michael Hirsch   6/8/2022
Thomas Lehman and Michael Hirsch (0xHirsch)   Thomas Lehman,   5/26/2022 -   LEHMAN0000112       JTX-1010
Messages                                      Michael Hirsch   6/8/2022
Thomas Lehman and Michael Hirsch (0xHirsch)   Thomas Lehman,   5/26/2022 -   LEHMAN0000113       JTX-1011
Messages                                      Michael Hirsch   6/8/2022
Thomas Lehman and Michael Hirsch (0xHirsch)   Thomas Lehman,   5/26/2022 -   LEHMAN0000114       JTX-1012
Messages                                      Michael Hirsch   6/8/2022
Thomas Lehman and Michael Hirsch (0xHirsch)   Thomas Lehman,   5/26/2022 -   LEHMAN0000115       JTX-1013
Messages                                      Michael Hirsch   6/8/2022
Thomas Lehman and Michael Hirsch (0xHirsch)   Thomas Lehman,   5/26/2022 -   LEHMAN0000116       JTX-1014
Messages                                      Michael Hirsch   6/8/2022
Thomas Lehman and Michael Hirsch (0xHirsch)   Thomas Lehman,   5/26/2022 -   LEHMAN0000117       JTX-1015
Messages                                      Michael Hirsch   6/8/2022
Thomas Lehman and Michael Hirsch (0xHirsch)   Thomas Lehman,   5/26/2022 -   LEHMAN0000118       JTX-1016
Messages                                      Michael Hirsch   6/8/2022
Thomas Lehman and Michael Hirsch (0xHirsch)   Thomas Lehman,   5/26/2022 -   LEHMAN0000119       JTX-1017
Messages                                      Michael Hirsch   6/8/2022

                                                       5
                 Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 7 of 73 Page ID
                                                  #:20362


                   Title                          Author          Date             Bates No.     Trial Exh.
                                                                                                    No.
Thomas Lehman and Michael Hirsch (0xHirsch)   Thomas Lehman,   5/26/2022 - LEHMAN0000120         JTX-1018
Messages                                      Michael Hirsch   6/8/2022
Thomas Lehman and Michael Hirsch (0xHirsch)   Thomas Lehman,   5/26/2022 - LEHMAN0000121         JTX-1019
Messages                                      Michael Hirsch   6/8/2022
Thomas Lehman and Confu.eth (ConfuEth)        Thomas Lehman,   5/21/2022 LEHMAN0000126           N/A
Messages                                      Confu.eth
Thomas Lehman and Confu.eth (ConfuEth)        Thomas Lehman,   5/20/2022 -   LEHMAN0000127       N/A
Messages                                      Confu.eth        5/21/2022
Thomas Lehman and Jeremy Cahen Messages       Thomas Lehman,   4/25/2022 -   LEHMAN0000128       N/A
                                              Jeremy Cahen     5/27/2022
Thomas Lehman and Jeremy Cahen Messages       Thomas Lehman,   5/27/2022 -   LEHMAN0000129       N/A
                                              Jeremy Cahen     7/21/2022
Thomas Lehman and Jeremy Cahen Messages       Thomas Lehman,   7/21/2022 -   LEHMAN0000130       N/A
                                              Jeremy Cahen     9/6/2022
Thomas Lehman and Jeremy Cahen Messages       Thomas Lehman,   9/6/2022      LEHMAN0000131       N/A
                                              Jeremy Cahen
Thomas Lehman and PIV (piv_piv) Messages      Thomas Lehman,   6/18/2022 - LEHMAN0000132         N/A
                                              PIV (piv_piv)    6/19/2022
Thomas Lehman and PIV (piv_piv) Messages      Thomas Lehman,   6/22/2022 LEHMAN0000133           N/A
                                              PIV (piv piv)
Thomas Lehman and PIV (piv_piv) Messages      Thomas Lehman,   6/27/2022     LEHMAN0000134       JTX-980
                                              PIV (piv_piv)
Thomas Lehman and PIV (piv_piv) Messages      Thomas Lehman,   6/27/2022     LEHMAN0000135       JTX-981
                                              PIV (piv_piv)
Thomas Lehman and PIV (piv_piv) Messages      Thomas Lehman,   6/24/2022 - LEHMAN0000136         N/A
                                              PIV (piv piv)    6/25/2022


                                                       6
                 Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 8 of 73 Page ID
                                                  #:20363


                   Title                         Author           Date             Bates No.     Trial Exh.
                                                                                                    No.
Thomas Lehman and PIV (piv_piv) Messages    Thomas Lehman,     6/26/2022 - LEHMAN0000137         N/A
                                            PIV (piv_piv)      6/27/2022
Thomas Lehman and PIV (piv_piv) Messages    Thomas Lehman,     6/27/2022 LEHMAN0000138           N/A
                                            PIV (piv_piv)
Thomas Lehman and PIV (piv_piv) Messages    Thomas Lehman,     6/27/2022   LEHMAN0000139         N/A
                                            PIV (piv piv)
Thomas Lehman and PIV (piv_piv) Messages    Thomas Lehman,     6/14/2022   LEHMAN0000140         N/A
                                            PIV (piv piv)
Thomas Lehman and PIV (piv_piv) Messages    Thomas Lehman,     6/2/2022    LEHMAN0000141         JTX-1003
                                            PIV (piv_piv)
Thomas Lehman and PIV (piv_piv) Messages    Thomas Lehman,     6/1/2022    LEHMAN0000142         N/A
                                            PIV (piv piv)
Thomas Lehman and PIV (piv_piv) Messages    Thomas Lehman,     6/1/2022    LEHMAN0000143         N/A
                                            PIV (piv piv)
Thomas Lehman and PIV (piv_piv) Messages    Thomas Lehman,     5/25/2022   LEHMAN0000144         N/A
                                            PIV (piv_piv)
Thomas Lehman and PIV (piv_piv) Messages    Thomas Lehman,     5/25/2022   LEHMAN0000145         N/A
                                            PIV (piv_piv)
Thomas Lehman and PIV (piv_piv) Messages    Thomas Lehman,     5/25/2022   LEHMAN0000146         N/A
                                            PIV (piv piv)
Thomas Lehman and PIV (piv_piv) Messages    Thomas Lehman,     5/25/2022   LEHMAN0000147         N/A
                                            PIV (piv_piv)
Thomas Lehman and PIV (piv_piv) Messages    Thomas Lehman,     5/31/2022   LEHMAN0000148         N/A
                                            PIV (piv_piv)
Thomas Lehman and PIV (piv_piv) Messages    Thomas Lehman,     5/27/2022   LEHMAN0000149         N/A
                                            PIV (piv piv)


                                                       7
                 Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 9 of 73 Page ID
                                                  #:20364


                   Title                         Author           Date             Bates No.     Trial Exh.
                                                                                                    No.
Thomas Lehman and PIV (piv_piv) Messages    Thomas Lehman,     5/27/2022   LEHMAN0000150         N/A
                                            PIV (piv_piv)
Thomas Lehman and PIV (piv_piv) Messages    Thomas Lehman,     5/30/2022   LEHMAN0000151         N/A
                                            PIV (piv_piv)
Thomas Lehman and PIV (piv_piv) Messages    Thomas Lehman,     5/31/2022   LEHMAN0000152         N/A
                                            PIV (piv piv)
Thomas Lehman and PIV (piv_piv) Messages    Thomas Lehman,     5/31/2022   LEHMAN0000153         N/A
                                            PIV (piv piv)
Thomas Lehman and PIV (piv_piv) Messages    Thomas Lehman,     5/31/2022   LEHMAN0000154         N/A
                                            PIV (piv_piv)
Thomas Lehman and PIV (piv_piv) Messages    Thomas Lehman,     5/31/2022   LEHMAN0000155         N/A
                                            PIV (piv piv)
Thomas Lehman and PIV (piv_piv) Messages    Thomas Lehman,     5/25/2022   LEHMAN0000156         N/A
                                            PIV (piv piv)
Thomas Lehman and PIV (piv_piv) Messages    Thomas Lehman,     5/25/2022   LEHMAN0000157         N/A
                                            PIV (piv_piv)
Thomas Lehman and PIV (piv_piv) Messages    Thomas Lehman,     5/17/2022   LEHMAN0000158         JTX-1020
                                            PIV (piv_piv)
Thomas Lehman and PIV (piv_piv) Messages    Thomas Lehman,     5/17/2022   LEHMAN0000159         JTX-977
                                            PIV (piv piv)
Thomas Lehman and PIV (piv_piv) Messages    Thomas Lehman,     5/17/2022   LEHMAN0000160         JTX-978
                                            PIV (piv_piv)
Thomas Lehman and PIV (piv_piv) Messages    Thomas Lehman,     5/17/2022   LEHMAN0000161         N/A
                                            PIV (piv_piv)
Thomas Lehman and PIV (piv_piv) Messages    Thomas Lehman,     5/20/2022   LEHMAN0000162         N/A
                                            PIV (piv piv)


                                                       8
                Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 10 of 73 Page ID
                                                 #:20365


                  Title                          Author           Date            Bates No.      Trial Exh.
                                                                                                    No.
Thomas Lehman and PIV (piv_piv) Messages   Thomas Lehman,      5/20/2022   LEHMAN0000163         N/A
                                           PIV (piv_piv)
Thomas Lehman and PIV (piv_piv) Messages   Thomas Lehman,      5/22/2022   LEHMAN0000164         N/A
                                           PIV (piv_piv)
Thomas Lehman and PIV (piv_piv) Messages   Thomas Lehman,      5/17/2022   LEHMAN0000165         N/A
                                           PIV (piv piv)
Ryder Ripps and Thomas Lehman Messages     Ryder Ripps,        4/12/2022 - LEHMAN0000166         JTX-1002
                                           Thomas Lehman       6/20/2022
Ryder Ripps and Thomas Lehman Messages     Ryder Ripps,        6/20/2022 LEHMAN0000167           N/A
                                           Thomas Lehman
Ryder Ripps and Thomas Lehman Messages     Ryder Ripps,        6/20/2022   LEHMAN0000168         N/A
                                           Thomas Lehman
Ryder Ripps and Thomas Lehman Messages     Ryder Ripps,        6/20/2022   LEHMAN0000169         N/A
                                           Thomas Lehman
Jeremy Cahen, Thomas Lehman, Ryder Ripps,  Jeremy Cahen,       6/21/2022   LEHMAN0000170         N/A
and Ryan Hickman Messages                  Thomas Lehman,
                                           Ryder Ripps,
                                           Ryan Hickman
Thomas Lehman and PIV (piv_piv) Messages   Thomas Lehman,      6/27/2022   LEHMAN0000171         JTX-979
                                           PIV (piv_piv)
Messages between Ryan Hickman,             Ryan Hickman,       6/21/2022   LEHMAN0000187         N/A
FastFoodRembrandt.onion (SolMiningpunkV2), FastFoodRembran
and Squeebo (squeebo_nft)                  dt.onion
                                           (SolMiningpunkV
                                           2), Squeebo
                                           (squeebo_nft)


                                                       9
                  Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 11 of 73 Page ID
                                                   #:20366


                     Title                            Author         Date           Bates No.      Trial Exh.
                                                                                                      No.
Messages between Ryan Hickman,             Various                6/21/2022   LEHMAN0000188        JTX-12
FastFoodRembrandt.onion (SolMiningpunkV2),
and emilyluvscrypto.eth (EmilyLuvsCrypto)


Messages between Ryan Hickman and                 Ryan Hickman,   6/21/2022   LEHMAN0000189        N/A
FastFoodRembrandt.onion (SolMiningpunkV2)         FastFoodRembran
                                                  dt.onion
                                                  (SolMiningpunkV
                                                  2)
Messages between Ryan Hickman,                    Various         6/21/2022   LEHMAN0000190        N/A
FastFoodRembrandt.onion (SolMiningpunkV2),
emilyluvscrypto.eth (EmilyLuvsCrypto), and
It'sBlue.eth (0xitsblue)


Messages between FastFoodRembrandt.onion          Various         6/22/2022   LEHMAN0000191        N/A
(SolMiningpunkV2), emilyluvscrypto.eth
(EmilyLuvsCrypto), and It'sBlue.eth (0xitsblue)




                                                            10
                  Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 12 of 73 Page ID
                                                   #:20367


                    Title                          Author           Date            Bates No.      Trial Exh.
                                                                                                      No.
Messages between Ryan Hickman,             Various               6/22/2022   LEHMAN0000192         N/A
FastFoodRembrandt.onion (SolMiningpunkV2),
emilyluvscrypto.eth (EmilyLuvsCrypto), and
It'sBlue.eth (0xitsblue)


Messages between Ryan Hickman, Squeebo          Ryan Hickman,    6/23/2022   LEHMAN0000193         N/A
(squeebo_nft), lock (@lock0x)                  Squeebo
                                               (squeebo_nft),
                                               lock (@lock0x)
Messages between Thomas Lehman, Ryan           Various           6/23/2022   LEHMAN0000194         N/A
Hickman, emilyluvscrypto.eth
(EmilyLuvsCrypto), Cache Monet
(gaslimitreached), and Squeebo (squeebo_nft)

Messages group including Thomas Lehman and     Various           6/21/2022   LEHMAN0000195         N/A
Ryan Hickman
Thomas Lehman and Michael Hirsch (0xHirsch)    Thomas Lehman,    7/7/2022    LEHMAN0000196         JTX-1021
Messages                                       Michael Hirsch
Thomas Lehman and Michael Hirsch (0xHirsch)    Thomas Lehman,    7/7/2022    LEHMAN00001197        N/A
Messages                                       Michael Hirsch
Messages group including Thomas Lehman and     Various           7/3/2022    LEHMAN0000198         N/A
Ryan Hickman




                                                         11
                Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 13 of 73 Page ID
                                                 #:20368


                  Title                          Author           Date            Bates No.      Trial Exh.
                                                                                                    No.
Messages between Ryan Hickman, Squeebo      Ryan Hickman,      7/3/2022    LEHMAN0000199         JTX-52
(squeebo_nft), and Tech (techoshi777)       Squeebo
                                            (squeebo_nft),
                                            Tech
                                            (techoshi777)
Messages between Ryan Hickman and Thomas    Ryan Hickman,      9/8/2022    LEHMAN0000200         JTX-17
Lehman                                      Thomas Lehman
Messages between Ryan Hickman and Thomas    Ryan Hickman,      9/7/2022    LEHMAN0000201         N/A
Lehman                                      Thomas Lehman
Messages between Ryan Hickman and Thomas    Ryan Hickman,      9/10/2022   LEHMAN0000202         N/A
Lehman                                      Thomas Lehman
Messages between Ryan Hickman and Thomas    Ryan Hickman,      8/26/2022   LEHMAN0000203         JTX-971
Lehman                                      Thomas Lehman
Messages between Ryan Hickman and Thomas    Ryan Hickman,      7/24/2022   LEHMAN0000204         N/A
Lehman                                      Thomas Lehman
Messages between Ryan Hickman and Thomas    Ryan Hickman,      8/25/2022   LEHMAN0000205         N/A
Lehman                                      Thomas Lehman
Messages between Ryan Hickman and Thomas    Ryan Hickman,      8/26/2022   LEHMAN0000206         N/A
Lehman                                      Thomas Lehman
Messages between Ryan Hickman and Thomas    Ryan Hickman,      6/17/2022 - LEHMAN0000207         JTX-966
Lehman                                      Thomas Lehman      6/20/2022
Messages between Ryan Hickman and Thomas    Ryan Hickman,      6/20/2022 LEHMAN0000208           JTX-1023
Lehman                                      Thomas Lehman
Messages between Ryan Hickman and Thomas    Ryan Hickman,      6/20/2022   LEHMAN0000209         JTX-1024
Lehman                                      Thomas Lehman



                                                      12
                 Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 14 of 73 Page ID
                                                  #:20369


                   Title                            Author         Date            Bates No.      Trial Exh.
                                                                                                     No.
Messages between Ryan Hickman and Thomas      Ryan Hickman,     6/20/2022   LEHMAN0000210         JTX-11
Lehman                                        Thomas Lehman
Messages between Ryan Hickman and Thomas      Ryan Hickman,     6/20/2022   LEHMAN0000211         N/A
Lehman                                        Thomas Lehman
Messages between Ryan Hickman and Thomas      Ryan Hickman,     6/20/2022 - LEHMAN0000212         N/A
Lehman                                        Thomas Lehman     6/23/2022
Messages between Ryan Hickman and Thomas      Ryan Hickman,     6/23/2022 LEHMAN0000213           N/A
Lehman                                        Thomas Lehman
Messages between Ryan Hickman and Thomas      Ryan Hickman,     6/23/2022   LEHMAN0000214         JTX-967
Lehman                                        Thomas Lehman
Messages between Ryan Hickman and Thomas      Ryan Hickman,     6/23/2022   LEHMAN0000215         JTX-968
Lehman                                        Thomas Lehman
Messages between Ryan Hickman and Thomas      Ryan Hickman,     6/23/2022   LEHMAN0000216         N/A
Lehman                                        Thomas Lehman
Messages between dovetail (d0vetail) and      dovetail          8/3/2022    LEHMAN0000217         N/A
whalegoddess (gv.eth)                         (d0vetail),
                                              whalegoddess
                                              (gv.eth)
JSON file of BAYC IDs associated with image   N/A               N/A         LEHMAN0000227-233     N/A
URIs
JSON file of BAYC IDs associated with image   N/A               N/A         LEHMAN0000228         JTX-1550
URIs
JSON file of BAYC IDs associated with image   N/A               N/A         LEHMAN0000229         JTX-1551
URIs
JSON file of BAYC IDs associated with image   N/A               N/A         LEHMAN0000230         JTX-1552
URIs


                                                        13
                 Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 15 of 73 Page ID
                                                  #:20370


                   Title                            Author         Date            Bates No.      Trial Exh.
                                                                                                     No.
JSON file of BAYC IDs associated with image   N/A               N/A         LEHMAN0000231         JTX-1553
URIs
JSON file of BAYC IDs associated with image   N/A               N/A         LEHMAN0000232         JTX-1554
URIs
JSON file of BAYC IDs associated with image   N/A               N/A         LEHMAN0000233         JTX-1555
URIs
Ryan Hickman, Jeremy Cahen, Thomas            Various           5/22/2022 - LEHMAN0000291         N/A
Lehman, FeniXx, jimdrang, and Edbighead                         5/23/2022
Discord Messages
Team Ape Market Discord Chat              Ryder Ripps,          5/18/2022   LEHMAN0000294         JTX-800
                                          Jeremy Cahen,         to
                                          Thomas Lehman,        9/27/2022
                                          Ryan Hickman
Thomas Lehman, Jeremy Cahen, Ryan Hickman Jeremy Cahen,         6/23/2022   LEHMAN0000295         N/A
and vasa Discord Messages                 Thomas Lehman,
                                          Ryan Hickman,
                                          vasa
Thomas Lehman and 0xfcks Discord Messages Thomas Lehman,        7/24/2022   LEHMAN0000296         N/A
                                          0xfcks
Thomas Lehman and Avolali.M.eth Discord   Thomas Lehman,        6/21/2022   LEHMAN0000297         N/A
Messages                                  Avolali.M.eth
Thomas Lehman and Confucius_said_ Discord Thomas Lehman,        6/4/2022    LEHMAN0000298         N/A
Messages                                  Confucius_said_
Thomas Lehman and dovetail Discord Messages Thomas Lehman,      5/22/2022 - LEHMAN0000299         N/A
                                            dovetail            9/6/2022


                                                        14
                   Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 16 of 73 Page ID
                                                    #:20371


                     Title                          Author           Date            Bates No.      Trial Exh.
                                                                                                       No.
Thomas Lehman and hirsch Discord Messages      Thomas Lehman,     5/28/2022 -   LEHMAN0000300       N/A
                                               hirsch             7/25/2022
Thomas Lehman and Ryan Hickman Discord         Thomas Lehman,     5/23/2022 -   LEHMAN0000301       N/A
Messages                                       Ryan Hickman       7/27/2022
Thomas Lehman and "jimdrang" Discord           Thomas Lehman,     5/22/2022     LEHMAN0000302       JTX-982
Messages                                       Discord User       to
                                               jimdrang           5/23/2022
Thomas Lehman and meuleman Discord             Thomas Lehman,     5/16/2022 -   LEHMAN0000303       N/A
Messages                                       meuleman           10/3/2022
Thomas Lehman and Jeremy Cahen Discord         Thomas Lehman,     5/23/2022 -   LEHMAN0000304       N/A
Messages                                       Jeremy Cahen       5/24/2022
Jeremy Cahen, Ryan Hickman, Ryder Ripps,       Jeremy Cahen,      5/20/2022 -   LEHMAN0000314       JTX-802
and Thomas Lehman Telegram Chat                Thomas Lehman,     5/31/2022
                                               Ryder Ripps,
                                               Ryan Hickman
Discord Messages                               Various            5/21/2022 - RIPPSCAHEN00000001    N/A
                                                                  9/30/2022
Messages between Ryder Ripps and [Redacted - Ryder Ripps and      6/11/2022 - RIPPSCAHEN00000303    N/A
PII]                                         [Redacted - PII]     8/27/2022
Messages between Ryder Ripps and [Redacted -   Ryder Ripps and    5/22/2022 - RIPPSCAHEN00000304 JTX-831
PII]                                           [Redacted - PII]   6/20/2022
Article titled "Bored Ape Yacht Club Wants     Matthew Denis,     7/14/2022 RIPPSCAHEN00000850- N/A
Ryder Ripps to Cease and Desist"               The Manual                     865




                                                         15
                 Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 17 of 73 Page ID
                                                  #:20372


                    Title                          Author            Date            Bates No.       Trial Exh.
                                                                                                        No.
Email from OpenSea Copyright to Ryder Ripps   OpenSea             6/21/2022     RIPPSCAHEN00001258   N/A
                                              Copyright, Ryder
                                              Ripps
Text Messages between Ian Garner and Ryder    Ian Garner, Ryder   5/17/2022 -   RIPPSCAHEN00001285- N/A
Ripps                                         Ripps               10/11/2022    319
Email between Berk Tarakcioglu and Ryder      Berk Tarakcioglu,   5/28/2022 -   RIPPSCAHEN00001397 N/A
Ripps                                         Ryder Ripps         5/29/2022
Email between Mike Wenz and Ryder Ripps       Mike Wenz,          6/8/2022      RIPPSCAHEN00001443   N/A
                                              Ryder Ripps
Email from Zachary Filtness to                Zachary Filtness    6/20/2022     RIPPSCAHEN00001560   N/A
rrbayc@protonmail.com
Email from Preston Pinto to Ryder Ripps       Preston Pinto       7/4/2022 - RIPPSCAHEN00001920      N/A
                                                                  9/1/2022
Email between Ryder Ripps and Jeremy Cahen    Ryder Ripps,        10/19/2022 RIPPSCAHEN00001932      N/A
                                              Jeremy Cahen
Messages between PE and Jeremy Cahen          PE, Jeremy Cahen    5/29/2022     RIPPSCAHEN00001960   N/A

Messages between PE, Jeremy Cahen, and        PE, Jeremy          5/30/2022     RIPPSCAHEN00002044   N/A
Ryder Ripps                                   Cahen, Ryder
                                              Ripps
Messages between bigfud.eth and Ryder Ripps   bigfud.eth, Ryder   5/21/2022 - RIPPSCAHEN00002127     N/A
                                              Ripps               5/24/2022
Messages between claire0x and Ryder Ripps     claire0x, Ryder     5/17/2022 RIPPSCAHEN00002158       JTX-125
                                              Ripps
Messages between DoTheMath and Ryder          DoTheMath,          5/21/2022     RIPPSCAHEN00002174   JTX-133
Ripps                                         Ryder Ripps


                                                        16
                  Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 18 of 73 Page ID
                                                   #:20373


                     Title                         Author           Date            Bates No.      Trial Exh.
                                                                                                      No.
Messages between Heidi Briones and Ryder      Heidi Briones,     5/16/2022   RIPPSCAHEN00002179    N/A
Ripps                                         Ryder Ripps
Messages between X2Y2 and Ryder Ripps         X2Y2, Ryder        6/25/2022   RIPPSCAHEN00002183    N/A
                                              Ripps
Messages between X2Y2 and Ryder Ripps         X2Y2, Ryder        6/25/2022   RIPPSCAHEN00002186    JTX-135
                                              Ripps
Messages between Ryder Ripps and @Legend      Ryder Ripps,       6/2/2022    RIPPSCAHEN00002244    N/A
                                              @Legend
Messages between Jeff Kraus                   Jeff Kraus         5/18/2022 - RIPPSCAHEN00002252    JTX-817
(@baggybydesign) and Ryder Ripps              (@baggybydesign    5/25/2022
                                              ), Ryder Ripps
Messages between butters and Ryder Ripps      butters, Ryder     5/19/2022 - RIPPSCAHEN00002265    N/A
                                              Ripps              5/20/2022
Messages between Fit Binex and Ryder Ripps    Fit Binex, Ryder   5/31/2022 RIPPSCAHEN00002273      JTX-147
                                              Ripps
Team ApeMarket Discord Chat                   Jeremy Cahen,      5/18/2022   RIPPSCAHEN00002283    N/A
                                              Thomas Lehman,
                                              Ryan Hickman
Gas Calculations                              Thomas Lehman      7/5/2022    RIPPSCAHEN00004125    N/A
Revenue, Gas, and Profit Share Calculations   N/A                N/A         RIPPSCAHEN00013243    JTX-96

Ryder Ripps, Jeremy Cahen, Ryan Hickman and Ryder Ripps,         5/20/2022   RIPPSCAHEN00014286    N/A
Unsupported User Telegram Messages          Jeremy Cahen,
                                            Ryan Hickman,
                                            Unsupported User



                                                        17
                Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 19 of 73 Page ID
                                                 #:20374


                   Title                         Author           Date            Bates No.      Trial Exh.
                                                                                                    No.
Ryder Ripps, Jeremy Cahen, and Ryan Hickman Ryder Ripps,       5/20/2022 - RIPPSCAHEN00014295    N/A
Telegram Messages                           Jeremy Cahen,      5/21/2022
                                            Ryan Hickman
Ryder Ripps and Unsupported User Telegram   Ryder Ripps,       5/25/2022   RIPPSCAHEN00014318    N/A
Messages                                    Unsupported User
Ryder Ripps, Jeremy Cahen, Ryan Hickman and Ryder Ripps,       5/25/2022   RIPPSCAHEN00014321    N/A
Unsupported User Telegram Messages          Jeremy Cahen,
                                            Ryan Hickman,
                                            Unsupported User
Ryder Ripps, Jeremy Cahen and Unsupported   Ryder Ripps,       5/26/2022   RIPPSCAHEN00014330    N/A
User Telegram Messages                      Jeremy Cahen,
                                            Unsupported User
Profit and Loss Calculations                N/A                N/A         RIPPSCAHEN00015341    JTX-103
Text Messages Between Jeremy Cahen and      Jeremy Cahen,      Unknown     RIPPSCAHEN00026004    JTX-1574
Ryder Ripps                                 Ryder Ripps
Tweet from @ryder ripps                     Ryder Ripps        12/6/2021   YUGALABS 00000535     JTX-123
Tweet from @ApeMarketplace                  Jeremy Cahen       6/2/2022    YUGALABS_00000536     JTX-697
Twitter Profile for GemBot (@0xGem)         Twitter User       N/A         YUGALABS_00000537     N/A
                                            @0xGem
Tweet from @ryder ripps                     Ryder Ripps        5/15/2022   YUGALABS 00000538     JTX-814
RR/BAYC (BAYC)                              CoinGecko          N/A         YUGALABS_00000539     N/A
Tweet from @ryder ripps                     Ryder Ripps        5/13/2022   YUGALABS 00000541     JTX-689
Tweet from @ApeMarketplace                  Jeremy Cahen       6/20/2022   YUGALABS 00000545     JTX-1027
Twitter page of Ryder Ripps                 Ryder Ripps        5/16/2022   YUGALABS_00000547     JTX-1139
Tweet from @ryder ripps                     Ryder Ripps        5/15/2022   YUGALABS 00000554     N/A



                                                      18
                 Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 20 of 73 Page ID
                                                  #:20375


                    Title                         Author           Date            Bates No.      Trial Exh.
                                                                                                     No.
Tweet from @RR_BAYC                          Twitter User       5/28/2022   YUGALABS_00000560     N/A
                                             @RR_BAYC
rrbayc.com webpage                           N/A                N/A         YUGALABS_00000564     N/A
Tweet from @ryder ripps                      Ryder Ripps        5/17/2022   YUGALABS 00000565     JTX-690
Tweet from @zackburt_                        Twitter User       6/28/2022   YUGALABS_00000567     N/A
                                             @zackburt_
Tweet from @pauly0x                          Jeremy Cahen       6/25/2022   YUGALABS 00000568     N/A
Tweet from @dlbrows                          Twitter user       1/3/2022    YUGALABS_00000569     JTX-1028
                                             @dlbrows
Tweet from @0xToven                          Twitter User       7/8/2022    YUGALABS_00000570     JTX-1030
                                             @0xToven
RR/BAYC Collection                           OpenSea            6/13/2022   YUGALABS_00000571     JTX-29
Tweet from @apeuniverse_eth                  Twitter User       7/8/2022    YUGALABS_00000580     JTX-1031
                                             @apeuniverse eth
Tweet from @pauly0x                          Jeremy Cahen       7/16/2022   YUGALABS_00000585     N/A
Replies to tweet from @rrbayc_bot            Ryan Hickman,      7/8/2022    YUGALABS_00000586     JTX-914
                                             Jeremy Cahen


Tweet from @Cryptonidis replying to @0xGem Twitter user         7/8/2022    YUGALABS_00000589     JTX-1032
                                           @Cryptonidis
@RR_BAYC Twitter page                      Twitter user         N/A         YUGALABS_00000593     N/A
                                           @RR_BAYC
Tweet from @pauly0x                        Jeremy Cahen         7/16/2022   YUGALABS 00000594     N/A
RR/BAYC purchase disclaimer                RR/BAYC              N/A         YUGALABS_00000600     N/A
Tweet from @FTMROSE replying to @0xGem Twitter user             7/8/2022    YUGALABS_00000605     JTX-1033
                                           @FTMROSE

                                                       19
                  Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 21 of 73 Page ID
                                                   #:20376


                    Title                           Author          Date            Bates No.      Trial Exh.
                                                                                                      No.
Tweet from @pauly0x                           Jeremy Cahen       7/18/2022   YUGALABS_00000607     N/A
Tweet from @pauly0x                           Jeremy Cahen       N/A         YUGALABS_00000610     JTX-919
Replies to tweet from @0xGem                  Various            7/8/2022    YUGALABS 00000620     N/A
Tweet from @NFTBuffet replying to @0xGem      Twitter user       7/8/2022    YUGALABS_00000624     JTX-1034
                                              @NFTBuffet
Instagram post from Ryder Ripps               Ryder Ripps        5/30/2022   YUGALABS_00000628     N/A

Replies to tweet from @0xGem                  Various            7/8/2022    YUGALABS_00000629     JTX-1035
RR/BAYC (BAYC)                                CoinGecko          N/A         YUGALABS 00000631     N/A
RR/BAYC (RRBAYC)                              NFTX               N/A         YUGALABS 00000653     JTX-82
Tweet from @ryder_ripps                       Ryder Ripps        9/23/2022   YUGALABS_00000675     N/A
Tweet from @ApeMarketplace                    Jeremy Cahen       6/2/2022    YUGALABS 00001978     JTX-88
Instagram story from azealiabanks             Azealia Banks      N/A         YUGALABS_00002037     N/A

Tweet from @ryder ripps                       Ryder Ripps        5/26/2022   YUGALABS 00002041     JTX-1037
Reply to tweet from @orchidmouth              Ryder Ripps        6/27/2022   YUGALABS_00002125     N/A

RR/BAYC (x2y2)                                N/A                N/A         YUGALABS_00002334     JTX-812
Etherscan - Contract 0x2EE6…691e              N/A                N/A         YUGALABS_00002370     JTX-25

Replies to tweet from @ryder_ripps            Various            6/23/2022   YUGALABS_00002578     N/A

Replies to tweet from @ryder_ripps            Various            6/8/2022    YUGALABS_00002619     N/A

Replies to tweet from @pauly0x                Twitter user       6/24/2022   YUGALABS_00002622     N/A
                                              @hagakure_eth,



                                                        20
                 Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 22 of 73 Page ID
                                                  #:20377


                   Title                           Author          Date            Bates No.      Trial Exh.
                                                                                                     No.
                                             Twitter user
                                             @CareTaker_00


Tweet from @0xGem                            Twitter User       7/8/2022   YUGALABS_00002625-     N/A
                                             @0xGem                        634
Tweets from @pauly0x                         Jeremy Cahen       9/11/2022 YUGALABS 00002708       N/A
Tweet from @pauly0x                          Jeremy Cahen       12/11/2021 YUGALABS_00002737      JTX-943
Tweet from @pauly0x                          Jeremy Cahen       12/11/2021 YUGALABS 00002737      JTX-943
Twitter Profile for ApeMarket                Jeremy Cahen       N/A        YUGALABS_00003335      JTX-26
(@ApeMarketplace)
RR/BAYC Webpage                              Ryder Ripps        11/8/2022   YUGALABS_00013749     JTX-27
Twitter page of @ApeMarketplace              Twitter user       N/A         YUGALABS_00014079     JTX-696
                                             @ApeMArketplac
                                             e
Tweet from @streetoshi                       Twitter User       6/21/2022   YUGALABS_00015411     N/A
                                             @streetoshi
Tweet from @pauly0x                          Jeremy Cahen       10/17/2022 YUGALABS_00015412      N/A
LooksRare webpage for RR/BAYC Ape            N/A                N/A        YUGALABS_00015413      JTX-1039
"#5277"
OpenSea webpage for Yuga Labs BAYC Ape       N/A                N/A         YUGALABS_00015414     JTX-1040
"#5277"
Etherscan - Contract 0xd678...8bce           N/A                N/A         YUGALABS_00015417     JTX-1041

Comparison of Etherscan contract             N/A                N/A         YUGALABS_00015423     JTX-917
0x2EE6…691e and 0xBC4C…f13D



                                                       21
                  Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 23 of 73 Page ID
                                                   #:20378


                     Title                              Author       Date           Bates No.      Trial Exh.
                                                                                                      No.
Ryder Ripps Bored Ape Yacht Club Foundation N/A                    N/A         YUGALABS_00015424   JTX-28
Collections Page
“OpenSea Top collections over last 24 hours"      N/A              6/20/2022   YUGALABS_00015425   JTX-684

"BAYC Foundation.app" on Google                   N/A              N/A         YUGALABS_00015439   JTX-677

RR/BAYC Flow Chart                                Ape Market       N/A         YUGALABS_00015992   JTX-87
Etherscan - Contract 0x79b3…dd65                  N/A              N/A         YUGALABS_00015996   JTX-1042

Article titled "Rare Pepe, Or Why Post Internet   Ryder Ripps      N/A         YUGALABS_00015997   N/A
Art Is Stupid"
Ape Market and ApeFest 2022 in NYC icons          N/A              N/A         YUGALABS_00015998   N/A

Tweet from @johnny0x_                             Twitter User     6/22/2022   YUGALABS_00027491   JTX-713
                                                  @johnny0x
Tweets from Jeremy Cahen                          Jeremy Cahen     9/19/2021   YUGALABS_00027495   N/A
Tweet from @pauly0x                               Jeremy Cahen     6/29/2022   YUGALABS 00027510   N/A
Discord Messages                                  Discord User     N/A         YUGALABS_00027515   N/A
                                                  MehLovesMusic,
                                                  Ryder Ripps
Tweet from @Jclineshow                            Jason Cline      5/16/2022 YUGALABS_00027516     JTX-523
Tweet from @streetoshi                            Twitter user     6/20/2022 - YUGALABS_00027519   N/A
                                                  @streetoshi,     6/21/2022
                                                  @_etheth,
                                                  @thugbugx



                                                            22
                Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 24 of 73 Page ID
                                                 #:20379


                   Title                         Author           Date            Bates No.      Trial Exh.
                                                                                                    No.
Tweet from @Cryptoverse520                  Twitter user       5/19/2022    YUGALABS_00027520    JTX-710
                                            @Cryptoverse520
Tweet from @ryder_ripps                     Ryder Ripps        6/22/2022    YUGALABS_00027522    JTX-871
Tweet from @ryder ripps                     Ryder Ripps        5/27/2022    YUGALABS 00027523    JTX-715
Tweet from @Jclineshow                      Jason Cline        5/16/2022    YUGALABS_00027686    N/A
Tweet from @Jclineshow                      Jason Cline        5/16/2022    YUGALABS 00027690    N/A
Tweet from @pauly0x                         Jeremy Cahen       12/10/2022   YUGALABS_00027691    N/A
Tweet from @pauly0x                         Jeremy Cahen       12/12/2022   YUGALABS_00027692    N/A
Tweet from @Joey_tartz                      Twitter User       5/16/2022    YUGALABS_00027693    JTX-1043
                                            @Joey tartz
Retweet of @pauly0x                         Jeremy Cahen,      6/21/2022    YUGALABS_00027765    JTX-91
                                            Ryan Hickman
Tweet from @Jclineshow                      Jason Cline        5/13/2022    YUGALABS_00029080    JTX-1556
Tweet from @ryder ripps                     Ryder Ripps        5/18/2022    YUGALABS 00029089    JTX-841
Tweet from @enjoyoor and @DenisBarry1       Twitter User       6/22/2022-   YUGALABS_00029092    N/A
                                            @enjoyoor,         6/23/2022
                                            Twitter User
                                            @DenisBarry1
Tweet from @_etheth                         Twitter User       6/30/2022    YUGALABS_00029097    N/A
                                            @_etheth
Tweet from @_etheth                         Twitter User       8/20/2022    YUGALABS_00029098    N/A
                                            @ etheth
Tweet from @Jclineshow                      Jason Cline        6/22/2022    YUGALABS 00029099    N/A
RR/BAYC page, Ape Market explore page,      Ape Market         N/A          YUGALABS_00029100    N/A
RR/BAYC Flow Chart



                                                      23
                Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 25 of 73 Page ID
                                                 #:20380


                   Title                          Author          Date            Bates No.      Trial Exh.
                                                                                                    No.
Tweets from @ryder_ripps                    Ryder Ripps        5/24/2022-   YUGALABS_00029886    N/A
                                                               5/25/2022
USPTO TESS - Bored Ape Yacht Club           N/A                1/8/2023     YUGALABS_00029977    JTX-876


Tweet from @ryder_ripps                     Ryder Ripps        12/27/2022 YUGALABS_00029988      N/A
USPTO TESS - BAYC BORED APE YACHT           N/A                1/8/2023   YUGALABS_00029990      JTX-877
CLUB
Tweet from @ryder ripps                     Ryder Ripps        6/23/2022    YUGALABS 00030050    JTX-1045
Tweet from @ryder_ripps                     Ryder Ripps        6/21/2022    YUGALABS_00030051    N/A
USPTO TESS - BAYC                           N/A                1/8/2023     YUGALABS_00030058    JTX-878


Tweet from @ryder ripps                     Ryder Ripps        5/16/2022    YUGALABS 00030061    JTX-131
Tweet from @ryder_ripps                     Ryder Ripps        5/16/2022    YUGALABS_00030068    JTX-1046
USPTO TESS - BAYC                           N/A                1/8/2023     YUGALABS_00030079    JTX-879


Etherscan - Contract 0x2EE6…691e            N/A                N/A          YUGALABS_00030081- N/A
                                                                            082
Etherscan - Contract 0x2EE6…691e            N/A                N/A          YUGALABS_00030088 JTX-117

USPTO TESS - Bored Ape                      N/A                1/8/2023     YUGALABS_00030092    JTX-880


USPTO TESS Ape Skull Logo                   N/A                1/8/2023     YUGALABS_00030099    JTX-881



                                                      24
                 Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 26 of 73 Page ID
                                                  #:20381


                   Title                           Author          Date            Bates No.      Trial Exh.
                                                                                                     No.
Bored Ape Yacht Club (Foundation)            N/A                5/21/2022   YUGALABS_00030104     JTX-670

USPTO TESS Ape Skull Logo                    N/A                1/8/2023    YUGALABS_00030106     JTX-882



USPTO TESS BA YC Logo                        N/A                1/8/2023    YUGALABS_00030114     JTX-883

USPTO TESS Yuga Labs Bored Ape Yacht         N/A                1/8/2023    YUGALABS_00030118     JTX-884
Club Trademark
Twitter page of Jeremy Cahen                 Jeremy Cahen       N/A         YUGALABS 00030127     JTX-104
USPTO TESS BA YC BORED APE YACHT             N/A                1/8/2023    YUGALABS_00030129     JTX-885
CLUB Logo
USPTO TESS BORED APE YACHT CLUB              N/A                1/8/2023    YUGALABS_00030134     JTX-886
USPTO TESS BA YC BORED APE YACHT             N/A                1/8/2023    YUGALABS_00030138     JTX-887
CLUB Logo
USPTO TESS BA YC Logo                        N/A                1/8/2023    YUGALABS_00030142     JTX-888

USPTO TESS - Ape Skull Logo                  N/A                1/8/2023    YUGALABS_00030146     JTX-889
USPTO TESS - BAYC                            N/A                1/8/2023    YUGALABS 00030150     JTX-890
USPTO TESS - BORED APE                       N/A                1/8/2023    YUGALABS_00030155     JTX-891
USPTO TESS - BORED APE YACHT CLUB            N/A                1/8/2023    YUGALABS 00030160     JTX-892
USPTO TESS - BA YC BORED APE YACHT           N/A                1/8/2023    YUGALABS_00030166     JTX-893
CLUB Logo
USPTO TESS - BA YC Logo                      N/A                1/8/2023    YUGALABS_00030172     JTX-894

USPTO TESS - BAYC                            N/A                1/8/2023    YUGALABS 00030177     JTX-895

                                                       25
                  Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 27 of 73 Page ID
                                                   #:20382


                    Title                          Author           Date            Bates No.      Trial Exh.
                                                                                                      No.
USPTO TESS - BORED APE                        N/A                1/8/2023    YUGALABS_00030182     JTX-896
USPTO TESS - BORED APE YACHT CLUB             N/A                1/8/2023    YUGALABS_00030187     JTX-897
USPTO TESS - BAYC                             N/A                1/8/2023    YUGALABS 00030195     JTX-898
USPTO TESS - Ape Skull Logo                   N/A                1/8/2023    YUGALABS_00030205     JTX-899
Webpage titled "About Yuga: Yuga Labs is      Yuga Labs          1/3/2023    YUGALABS_00030223-    N/A
Shaping the Future of Web3 Through                                           230
Storytelling, Experiences, and Community"
Bloomberg Segment (screenshot of video)       Bloomberg          N/A         YUGALABS_00030236     JTX-1047

Tweet from @ApeMarketplace                    JeremyCahen        1/18/2023   YUGALABS 00030238     JTX-1048
Bloomberg Crypto Full Show                    Bloomberg          6/21/2022   YUGALABS_00030243     JTX-1049
Artwork by Ryder Ripps for LIVE9000           N/A                N/A         YUGALABS_00030244     JTX-1433

Bored Ape Yacht Club Discord Chat             Discord User       6/21/2022   YUGALABS_00031203     JTX-1192

Bored Ape Yacht Club Discord Chat             Discord User       6/21/2022   YUGALABS_00031204     JTX-1050

Discord Message                               Discord User ngbx 6/21/2022    YUGALABS_00031205     N/A
                                              ben
Tweet from @ryder_ripps                       Ryder Ripps       5/16/2022    YUGALABS_00031324     JTX-1054
Tweet from                                    Ryder Ripps       5/17/2022    YUGALABS_00031325     JTX-671
@ryder ripps
Tweet from @0xGem                             Twitter user       6/15/2022 - YUGALABS_00031326- N/A
                                              @0xGem             7/8/2022    332
Tweet from @Exme007                           Twitter User       1/13/2023 YUGALABS_00031357 JTX-1062
                                              @Exme007


                                                          26
                 Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 28 of 73 Page ID
                                                  #:20383


                   Title                           Author          Date            Bates No.      Trial Exh.
                                                                                                     No.
Tweet from @DSET555                          Twitter User       1/19/2023   YUGALABS_00031359     JTX-1063
                                             @DSET555
DappRadar webpages                           DappRadar          N/A         YUGALABS_00031367- N/A
                                                                            168
Etherscan - Transaction 0xec6a…f015          N/A                N/A         YUGALABS_00031370 JTX-600

LIVE9000 LLC Business Information            SilverFlume        1/29/2023   YUGALABS_00031397     JTX-1065

Tweet from @ryder ripps                      Ryder Ripps        5/15/2022   YUGALABS 00031401 N/A
DappRadar webpages                           DappRadar          N/A         YUGALABS_00031432- N/A
                                                                            436
Etherscan - Contract 0x2EE6…691e             N/A                N/A         YUGALABS_00031595 JTX-1146

Tweet from @0xGem                            Twitter user       6/20/2022   YUGALABS_00031598- N/A
                                             @0xGem,                        599
                                             @ghaiankur
Tweet from @0xGem                            Twitter user       6/23/2022   YUGALABS_00031601     JTX-1070
                                             @0xGem,
                                             @cyber_humanoi
                                             d
Tweet from @0xGem                            Twitter user       6/25/2022   YUGALABS_00031603     JTX-1071
                                             @0xGem,
                                             @SheckyGreen
Tweet from @0xGem                            Various            8/13/2022   YUGALABS_00031605- N/A
                                                                            608




                                                       27
                   Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 29 of 73 Page ID
                                                    #:20384


                     Title                           Author           Date           Bates No.      Trial Exh.
                                                                                                       No.
Tweet from @0xGem                              Twitter user         12/28/2022 YUGALABS_00031610    JTX-1073
                                               @0xGem,
                                               @CryptoChris2
Tweet from @fr_brennan                         Twitter user         1/31/2023   YUGALABS_00031612- N/A
                                               @fr_brennan                      614
Discord Messages                               Discord Users        7/22/2022   YUGALABS_00031615 JTX-114
                                               L3yum, Chris |
                                               Ape56,
                                               Decookiemang
Discord Messages                               Discord Users        7/22/2022   YUGALABS_00031616   N/A
                                               L3yum, Chris |
                                               Ape56, kajalluvia,
                                               Decookiemang
Discord Messages                               Discord Users        7/22/2022   YUGALABS_00031617   JTX-1074
                                               L3yum, Chris |
                                               Ape56,
                                               ShawnersPP819.et
                                               h, airlicky | WILL
                                               NEVER DM
                                               YOU
Etherscan - Contract 0xec6a…f015               N/A                  N/A         YUGALABS_00031618   N/A

Etherscan - Contract 0xec6a…f015               N/A                  N/A         YUGALABS_00031619   JTX-1147

Article titled "Reflections on BAYC's          Jeremy Goldman,      1/31/2023   YUGALABS_00031621- N/A
revolutionary NFT license"                     Frankfurt Kurnit                 623
                                               Klein + Selz


                                                         28
                   Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 30 of 73 Page ID
                                                    #:20385


                      Title                           Author         Date            Bates No.      Trial Exh.
                                                                                                       No.
Ethplorer Token Bored Ape Yacht Club             Ethplorer        2/5/2023    YUGALABS_00031626     N/A
webpage
Ethplorer Token Bored Ape Yacht Club             Ethplorer        2/5/2023    YUGALABS_00031628     N/A
webpage
Replies to tweet from @ryder_ripps               Ryder Ripps,     5/13/2022 - YUGALABS_00031629- N/A
                                                 Twitter user     5/14/2022 630
                                                 @CryptoNFTs
Tweet from @ryder ripps                          Ryder Ripps      5/16/2022  YUGALABS 00031633      JTX-1076
Tweet from @ryder_ripps                          Ryder Ripps      5/16/2022  YUGALABS_00031635      JTX-1077
Tweet from @ryder ripps                          Ryder Ripps      6/6/2022   YUGALABS 00031636      JTX-1078
Tweet from @ryder_ripps                          Ryder Ripps      6/12/2022  YUGALABS_00031637      JTX-1079
Tweet from @ryder_ripps                          Ryder Ripps      6/12/2022  YUGALABS_00031638      N/A
Replies to tweet from @yugalabs                  Various          1/3/2022   YUGALABS_00031639-     N/A
                                                                             642
Tweet from @BoredApeYC                           Yuga Labs /      10/19/2022 YUGALABS_00031643      N/A
                                                 BAYC
Tweet from @sretber                              Twitter user     1/31/2023   YUGALABS_00031645     N/A
                                                 @sretber
Tweet from @yugalabs                             Yuga Labs        1/31/2023   YUGALABS 00031647     N/A
Tweet from @OGDfarmer                            Twitter user     2/3/2023    YUGALABS_00031649     N/A
                                                 @OGDfarmer
Foundation article titled "A complete guide to   Foundation       5/22/2022   YUGALABS_00032440- N/A
creating a Collection and minting an NFT"                                     445
Tweet from @ryder ripps                          Ryder Ripps      6/11/2022   YUGALABS 00032446     N/A
Tweet from @ZamArtist                            Twitter user     9/18/2022   YUGALABS_00032447     N/A
                                                 @ZamArtist

                                                             29
                 Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 31 of 73 Page ID
                                                  #:20386


                       Title                       Author           Date           Bates No.      Trial Exh.
                                                                                                     No.
YouTube page titled "Bored Ape Yacht Club    Full Send Podcast   8/18/2022   YUGALABS_00032448    N/A
Creators Explain How Steph Curry & Bieber
Got Their NFT & How BAYC is Worth $4B"

Contain Podcast page                         Contain             2/6/2023    YUGALABS_00032449- N/A
                                                                             451
Presentation Titled "Company BAYC Future &   N/A                 2/1/2022    YUGALABS_00032452- N/A
Roadmap Financials"                                                          541
Declaration of Thomas Lehman                 Thomas Lehman       2/3/2023   YUGALABS_00032542-    N/A
                                                                            551
Declaration of Thomas Lehman                 Thomas Lehman       2/3/2023   YUGALABS_00032552-    N/A
                                                                            561
Apefest 2022 Webpage                         N/A                 1/14/2023 YUGALABS_00032562-     N/A
                                                                            567
Tweet from @BoredApeYC                       Yuga Labs /         11/15/2021 YUGALABS_00032568     N/A
                                             BAYC
Webpage titled "BAYC X McBess X The          CM Team, Yuga       10/18/2022 YUGALABS_00032569- N/A
Dudes: Fall Capsules Drop the 26th"          Lab News                       571
Tweet from @BoredApeYC                       Yuga Labs /         10/19/2022 YUGALABS_00032572     JTX-605
                                             BAYC
Webpage titled "Dookey Dash & Sewer Pass     CM Team, Yuga       1/11/2023   YUGALABS_00032573- N/A
FAQs"                                        Lab News                        578
Webpage titled "Get Ready to Doo Key Dash"   N/A                 1/14/2023   YUGALABS_00032579 N/A



                                                       30
                  Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 32 of 73 Page ID
                                                   #:20387


                      Title                         Author          Date            Bates No.      Trial Exh.
                                                                                                      No.
Tweet from @BoredApeYC                        Yuga Labs /        3/26/2022   YUGALABS_00032580     N/A
                                              BAYC
"Otherside" webpage                           N/A                1/14/2023   YUGALABS_00032581- N/A
                                                                             587
Article titled "The Fucking Metaverse, We     Fallon, Yuga Labs 12/2/2022    YUGALABS_00032588- N/A
Made a Podcast"                               Bews                           589
Article titled "The 'Meebits Turn On' Album   Danny Greene,      12/21/2022 YUGALABS_00032590-     N/A
Drop"                                         Yuga Labs Bews                591
Tweet from @pauly0x                           Jeremy Cahen       6/20/2022 YUGALABS_00036242       JTX-683
Tweet from @pauly0x                           Jeremy Cahen       6/21/2022 YUGALABS_00040429       JTX-685
Tweet from @pauly0x                           Jeremy Cahen       4/4/2023   YUGALABS 00041610      JTX-1315
Tweet from @pauly0x                           Jeremy Cahen       4/14/2023 YUGALABS_00043488       JTX-1171
Tweet from @pauly0x                           Jeremy Cahen       4/28/2023 YUGALABS 00043546       JTX-1566
Tweet from @pauly0x                           Jeremy Cahen       3/1/2023   YUGALABS_00043547      JTX-1567
Tweet from @pauly0x                           Jeremy Cahen       5/1/2023   YUGALABS_00043548      JTX-1568
USPTO TESS - Yuga Labs BAYC Trademark         N/A                5/8/2023   YUGALABS_00043549      JTX-1569
Record
USPTO TESS - Yuga Labs Skull Logo             N/A                5/8/2023    YUGALABS_00043551     JTX-1570
Trademark Record
Twitter page of Ryder Ripps                   Ryder Ripps        5/4/2023    YUGALABS 00043559     JTX-1573
Tweet from @0xGem (retweeted by Jeremy        Twitter User       2/20/2022   YUGALABS_00043588     JTX-1613
Cahen)                                        @0xGem
Tweet from @0xGem (retweeted by Jeremy        Twitter User       2/17/2022   YUGALABS_00043589     JTX-1614
Cahen)                                        @0xGem


                                                        31
                  Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 33 of 73 Page ID
                                                   #:20388


                    Title                              Author       Date            Bates No.      Trial Exh.
                                                                                                      No.
Tweet from @0xGem (retweeted by Jeremy           Twitter User    2/24/2022   YUGALABS_00043590     JTX-1615
Cahen)                                           @0xGem
Rough Deposition of Nicole Muniz as 30(b)(6)     N/A             1/24/2023   N/A                   N/A
Witness for Yuga Labs, January 24, 2023, and
related exhibits.
Deposition of Greg Solano, January 17, 2023,     N/A             1/17/2023   N/A                   N/A
and related exhibits.
Deposition of Guy Oseary, March 1, 2023, and     N/A             3/1/2023    N/A                   N/A
related exhibits.
Deposition of Ian Garner, March 8, 2023, and     N/A             3/8/2023    N/A                   N/A
related exhibits.
Deposition of Jason Cline, March 24, 2023, and   N/A             3/24/2023   N/A                   N/A
related exhibits.
Deposition of Jeremy Cahen, January 11, 2023,    N/A             1/11/2023   N/A                   N/A
and related exhibits.
Deposition of Jonah Berger, March 9, 2023, and N/A               3/9/2023    N/A                   N/A
related exhibits.
Deposition of Karem Atalay, January 30, 2023,    N/A             1/30/2023   N/A                   N/A
and related exhibits.




                                                           32
                  Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 34 of 73 Page ID
                                                   #:20389


                     Title                             Author       Date             Bates No.       Trial Exh.
                                                                                                        No.
Deposition of Laura O’Laughlin, March 22,        N/A             3/22/2023   N/A                     N/A
2023 and related exhibits.
Deposition of Nicole Muniz as 30(b)(6) Witness N/A               1/24/2023   N/A                     N/A
for Yuga Labs, January 24, 2023, and related
exhibits.
Deposition of Patrick Ehrlund, March 16, 2023,   N/A             3/16/2023   N/A                     N/A
and related exhibits.
Deposition of Ryan Hickman, December 7,          N/A             12/7/2022   N/A                     N/A
2022, and related exhibits.
Deposition of Ryder Ripps, January 12, 2023,     N/A             1/12/2023   N/A                     N/A
and related exhibits.
Deposition of Thomas Lehman, March 27,           N/A             3/27/2023   N/A                     N/A
2023, and related exhibits.
Deposition of Wylie Aronow March 6, 2023,        N/A             3/6/2023    N/A                     N/A
and related exhibits.
Rough Deposition of Karem Atalay, January 30, N/A                1/30/2023   N/A                     N/A
2023, and related exhibits.
Etherscan Homepage, available at                 N/A             N/A         https://etherscan.io/   N/A
https://etherscan.io/




                                                           33
                  Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 35 of 73 Page ID
                                                   #:20390


                    Title                              Author       Date            Bates No.           Trial Exh.
                                                                                                           No.
Etherscan Page for RR/BAYC Minting               N/A             N/A         https://etherscan.io/addres N/A
Contract, available at                                                       s/0x2EE6AF0dFf3A1CE
https://etherscan.io/address/0x2EE6AF0dFf3A1                                 3F7E3414C52c48fd50d7
CE3F7E3414C52c48fd50d73691e                                                  3691e
Etherscan Page for RR/BAYC Minting              N/A              N/A         https://etherscan.io/addres N/A
Contract, Reading Contract, available at                                     s/0x2ee6af0dff3a1ce3f7e
https://etherscan.io/address/0x2ee6af0dff3a1ce3                              3414c52c48fd50d73691e
f7e3414c52c48fd50d73691e#readContract#F13                                    #readContract#F13


Etherscan Page for Ryder Ripps' Minting          N/A             N/A         https://etherscan.io/addres N/A
Wallet, available at                                                         s/0x592814ff14e030b51f
https://etherscan.io/address/0x592814ff14e030b                               6087032db0f88f4214f25
51f6087032db0f88f4214f254/                                                   4/
Etherscan Page for Ryder Ripps' Non-Minting    N/A               N/A         https://etherscan.io/addres N/A
Wallet, available at                                                         s/0xbaf287cb2281841d9f
https://etherscan.io/address/0xbaf287cb2281841                               5ba929d7dde87048fcaf1b
d9f5ba929d7dde87048fcaf1b/                                                   /

Etherscan Page for RRBAYCRSVP Contract,          N/A             N/A         https://etherscan.io/addres N/A
available at                                                                 s/0xEE969B688442C2d5
https://etherscan.io/address/0xEE969B688442C                                 843Ad75f9117b3ab04b1
2d5843Ad75f9117b3ab04b14960                                                  4960




                                                           34
                   Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 36 of 73 Page ID
                                                    #:20391


                      Title                              Author      Date             Bates No.             Trial Exh.
                                                                                                               No.
Etherscan Page for RRBAYCRSVP Contract             N/A            N/A         https://etherscan.io/addres N/A
Code, available at                                                            s/0xEE969B688442C2d5
https://etherscan.io/address/0xEE969B688442C                                  843Ad75f9117b3ab04b1
2d5843Ad75f9117b3ab04b14960#code                                              4960#code

Etherscan Page for ETH to USD Exchange             N/A            N/A         https://etherscan.io/chart/   N/A
Rate, available at                                                            etherprice (viewed on
https://etherscan.io/chart/etherprice (viewed on                              February 5, 2023)
February 5, 2023)
Etherscan Page for RR/BAYC Token Tracker,          N/A            N/A         https://etherscan.io/token/ N/A
available at                                                                  0x2EE6AF0dFf3A1CE3F
https://etherscan.io/token/0x2EE6AF0dFf3A1C                                   7E3414C52c48fd50d736
E3F7E3414C52c48fd50d73691e                                                    91e
Etherscan Page for RR/BAYC #1008, available N/A                   N/A         https://etherscan.io/token/ N/A
at                                                                            0x2ee6af0dff3a1ce3f7e34
https://etherscan.io/token/0x2ee6af0dff3a1ce3f7                               14c52c48fd50d73691e?a
e3414c52c48fd50d73691e?a=1008                                                 =1008
Etherscan Page for RR/BAYC #1231, available N/A                   N/A         https://etherscan.io/token/ N/A
at                                                                            0x2ee6af0dff3a1ce3f7e34
https://etherscan.io/token/0x2ee6af0dff3a1ce3f7                               14c52c48fd50d73691e?a
e3414c52c48fd50d73691e?a=1231                                                 =1231




                                                             35
                 Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 37 of 73 Page ID
                                                  #:20392


                    Title                             Author       Date            Bates No.           Trial Exh.
                                                                                                          No.
Etherscan Page for RR/BAYC #1332, available N/A                 N/A         https://etherscan.io/token/ N/A
at                                                                          0x2ee6af0dff3a1ce3f7e34
https://etherscan.io/token/0x2ee6af0dff3a1ce3f7                             14c52c48fd50d73691e?a
e3414c52c48fd50d73691e?a=1332                                               =1332
Etherscan Page for RR/BAYC #998, available      N/A             N/A         https://etherscan.io/token/ N/A
at                                                                          0x2ee6af0dff3a1ce3f7e34
https://etherscan.io/token/0x2ee6af0dff3a1ce3f7                             14c52c48fd50d73691e?a
e3414c52c48fd50d73691e?a=998                                                =998
Etherscan Page for a RR/BAYC NFT Purchase, N/A                  N/A         https://etherscan.io/tx/0x7 N/A
available at                                                                9b3bc7e029ae9fe423cbf2
https://etherscan.io/tx/0x79b3bc7e029ae9fe423c                              9c75bf6787e64fa7e0b8bb
bf29c75bf6787e64fa7e0b8bb61e62166510c7e4                                    61e62166510c7e4dd65
dd65
Etherscan Page for a BAYC NFT Sale,            N/A              N/A         https://etherscan.io/tx/0xd N/A
available at                                                                6787edd130dffc3700688
https://etherscan.io/tx/0xd6787edd130dffc37006                              4013d118bfe3d7e8bf319
884013d118bfe3d7e8bf319468e3eab793c6760f                                    468e3eab793c6760f8bce
8bce
Etherscan Page for Minting Transaction of      N/A              N/A         https://etherscan.io/tx/0xe N/A
RR/BAYC NFT #1, available at                                                baf7d156b20cf102968b1
https://etherscan.io/tx/0xebaf7d156b20cf102968                              b88e52b052c511bc60ca0
b1b88e52b052c511bc60ca0a9c6e13d446fb2370                                    a9c6e13d446fb237015f8
15f8




                                                          36
                  Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 38 of 73 Page ID
                                                   #:20393


                     Title                           Author           Date           Bates No.           Trial Exh.
                                                                                                            No.
Etherscan Page for Transfer Transaction of     N/A                 N/A        https://etherscan.io/tx/0xf N/A
RR/BAYC NFT #61, available at                                                 6f29725ed7127b0f3e91c
https://etherscan.io/tx/0xf6f29725ed7127b0f3e9                                3f327a785662dbb99abb1
1c3f327a785662dbb99abb1715c20561147e157                                       715c20561147e1572980d
2980d

addresses.json                                  Lauren Kindler     N/A        YUGALABS_00033309         N/A
export-EtherPrice.csv                           Lauren Kindler     N/A        YUGALABS_00033573         N/A
all bayc logs data.csv                          Lauren Kindler     N/A        YUGALABS 00033575         N/A
cahen_transactions.csv                          Lauren Kindler     N/A        YUGALABS_00033580         N/A
df trans complete.csv                           Lauren Kindler     N/A        YUGALABS 00033581         N/A
rr_transactions.csv                             Lauren Kindler     N/A        YUGALABS_00033997         N/A
creator_fees.xlsx                               Lauren Kindler     N/A        YUGALABS_00033574         N/A
held NFTs.xlsx                                  Lauren Kindler     N/A        YUGALABS 00033576         N/A
initial_sales_by_type.xlsx                      Lauren Kindler     N/A        YUGALABS_00033577         N/A
initial sales profits.xlsx                      Lauren Kindler     N/A        YUGALABS 00033578         N/A
RSVP_profits.xlsx                               Lauren Kindler     N/A        YUGALABS_00033579         N/A
calculation.ipynb                               Lauren Kindler     N/A        YUGALABS_00033557-        N/A
                                                                              572
Expert Report of Laura O'Laughlin, Case No.     Laura O'Laughlin   2/6/2023   N/A                       N/A
2:22-cv-4355-JFW-JEM


Expert Report of Professor Jonah Berger, Case   Jonah Berger       2/6/2023   N/A                       N/A
No. 2:22-cv-4355-JFW-JEM



                                                          37
                 Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 39 of 73 Page ID
                                                  #:20394


                    Title                            Author            Date          Bates No.      Trial Exh.
                                                                                                       No.
“Understanding Security Issues in the NFT       Das, Dipanjan, et   7/14/1905   YUGALABS_00033413   N/A
Ecosystem,” In Proceedings of ACM               al.
Conference on Computer and Communications
Security.



“Blockchain Revolution without the               Halaburda, Hanna   3/2/2018    YUGALABS_00033329   N/A
Blockchain,” Bank and Canada and NYU,
available at
https://papers.ssrn.com/sol3/papers.cfm?abstract
_id=3133313.


“Regaining the Technological Competitive        Harsono, Hugh       Summer      YUGALABS_00033504   N/A
Advantage by Supporting NFT Self-                                   2022
Governance,” Fletcher Forum of World Affairs,
Vol. 46(2).




                                                           38
                  Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 40 of 73 Page ID
                                                   #:20395


                     Title                            Author           Date           Bates No.      Trial Exh.
                                                                                                        No.
“The Exchange: The Road Ahead for Crypto,”      Harvard Business     8/25/2022   YUGALABS_00033794   N/A
available at                                    School
https://www.alumni.hbs.edu/stories/Pages/story-
bulletin.aspx?num=8834/




“How NFTs Create Value,” available at            Kaczynski, Steve,   11/10/2021 YUGALABS_00033582    N/A
https://hbr.org/2021/11/how-nfts-create-value.   and Scott Duke
                                                 Kominers,
                                                 Harvard Business
                                                 Review

“NFT Legal and Regulatory Compliance:            Mondoh, Brian       11/12/2022 YUGALABS_00033582    N/A
Connoisseurship and Critique”                    Sanya et. al.




                                                           39
                   Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 41 of 73 Page ID
                                                    #:20396


                      Title                              Author      Date            Bates No.      Trial Exh.
                                                                                                       No.
Complaint for False Designation of Origin and      N/A            1/20/2023   N/A                   N/A
Cybersquatting, Yuga Labs Inc., v. Ryan
Hickman, Case No. 2:23-cv-00111-JCM-NJK,
United States District Court District of Nevada.


Complaint for False Designation of Origin and     N/A             1/20/2023   N/A                   N/A
Cybersquatting, Yuga Labs Inc., v. Thomas
Lehman, Case No. 1:23-cv-00085-MAD-TWD,
United States District Court Northern District of
New York.

Complaint for False Designation of Origin,        N/A             6/24/2022   N/A                   N/A
Yuga Labs, Inc., v. Ryder Ripps, Jeremy Cahen,
and Does 1-10, Case No. 2:22-cv-04355, United
States District Court for the Central District of
California.




                                                             40
                  Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 42 of 73 Page ID
                                                   #:20397


                     Title                           Author         Date            Bates No.      Trial Exh.
                                                                                                      No.
Consent Judgment and Order for Permanent       N/A               2/6/2023    N/A                   JTX-621
Injunction Against Thomas Lehman, Yuga
Labs, Inc., v. Thomas Lehman, Case No. 1:23-
cv-00085-MAD-TWD.


Declaration of Thomas Lehman, Yuga Labs,      N/A                2/3/2023    N/A                   JTX-1
Inc., v. Ryder Ripps, Jeremy Cahen, Case No.
2:22-cv-04355-JFW-JEM, United States District
Court for the Central District of California.

Jeremy Cahen’s Supplemental Responses Yuga     N/A               1/17/2023   N/A                   JTX-1516
Lab, Inc.’s Requests for Admission to Jeremy
Cahen (Nos. 1-49), Case No. 2:22-cv-04355-
JFW-JEM


Mr. Ripps and Mr. Cahen’s Opposition to        N/A               3/27/2023   N/A                   N/A
Plaintiff’s Motion for Summary Judgment,
Yuga Labs, Inc., v. Ryder Ripps and Jeremy
Cahen, Case No. 2:22-cv-04355-JFW-JEM,
United States District Court for the Central
District of California, March 27, 2023




                                                         41
                  Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 43 of 73 Page ID
                                                   #:20398


                     Title                              Author      Date            Bates No.      Trial Exh.
                                                                                                      No.
Order Granting in Part and Denying in Part        N/A            4/21/2023   N/A                   N/A
Plaintiff Yuga Labs, Inc.’s Motion for Summary
Judgment, Yuga Labs, Inc., v. Ripps, et al.,
Case No. 2:22-cv-04355-JFW-JEM, United
States District Court for the Central District of
California, April 21, 2023


Plaintiff Yuga Labs, Inc.’s Notice of Motion     N/A             3/15/2023   N/A                   N/A
and Motion for Summary Judgment;
Memorandum of Points and Authorities, Yuga
Labs, Inc., v. Ryder Ripps, Jeremy Cahen, Case
No. 2:22-cv- 04355-JFW-JEM, United States
District Court for the Central District of
California.


Plaintiff Yuga Labs, Inc.’s Reply Memorandum N/A                 4/3/2023    N/A                   N/A
in Support of Motion for Summary Judgment,
Yuga Labs, Inc., v. Ryder Ripps, Jeremy Cahen,
Case No. 2:22-cv-04355-JFW-JEM, United
States District Court for the Central District of
California, April 3, 2023




                                                            42
                  Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 44 of 73 Page ID
                                                   #:20399


                     Title                             Author       Date            Bates No.      Trial Exh.
                                                                                                      No.
Ryder Ripps’s Supplemental Response to Yuga      N/A             1/17/2023   N/A                   JTX-1518
Labs, Inc.’s Requests for Admission to Ryder
Ripps (Nos. 1-49), Case No. 2:22-cv-04355-
JFW-JEM


Yuga Labs Inc.’s Second Supplemental             N/A             1/31/2023   N/A                   JTX-115
Response to Ryder Ripps and Jeremy Cahen’s
First Set of Interrogatories (Nos. 1-14), Yuga
Labs, Inc., v. Ryder Ripps, Jeremy Cahen, Case
No. 2:22- cv-04355-JFW-JEM, United States
District Court for the Central District of
California WesternDivision – Los Angeles.



N/A                                              N/A             N/A         N/A                   N/A



N/A                                              N/A             N/A         N/A                   N/A




                                                           43
                  Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 45 of 73 Page ID
                                                   #:20400


                     Title                              Author      Date            Bates No.      Trial Exh.
                                                                                                      No.
AMB Crypto, “Blue-Chip NFTs fell in value,        AMB Crypto     1/2/2023    YUGALABS_00033340     N/A
but this Ape proved its mettle in the final days
of 2022,” January 2, 2023
(https://ambcrypto.com/blue-chip-nfts-fell-in-
value-but-this-ape-proved-its-mettle-in-thefinal-
days-of-2022/, viewed on January 27, 2023)




AMB Crypto, “Is Yuga Labs responsible for         AMB Crypto     1/10/2023   YUGALABS_00033593     N/A
these changes in the NFT landscape? Details
inside…,” January 10, 2023
(https://ambcrypto.com/is-yuga-labs-
responsible-for-these-changes-in-the-
nftlandscape-details-inside/, viewed on January
27, 2023)



ApeFest (https://apefest.com/, viewed on          N/A            N/A         YUGALABS_00033310     JTX-1299
February 5, 2023)




                                                            44
                  Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 46 of 73 Page ID
                                                   #:20401


                     Title                           Author         Date            Bates No.      Trial Exh.
                                                                                                      No.
Being Crypto, “OpenSea Volume Hits Lowest        Being Crypto    10/31/2022 YUGALABS_00033693      N/A
Since June 2021 With $303M in October,”
October 31, 2022
(https://beincrypto.com/opensea-volume-hits-
lowest-since-june-2021-with-303m-in-october/,
viewed on January 27, 2023)


Bitstamp, “What are the blocks in blockchain?,” Bitstamp         8/17/2022   YUGALABS_00033822     N/A
August 17, 2022
(https://www.bitstamp.net/learn/crypto-
101/what-are-blocks-in-the-blockchain/, viewed
on January 19, 2023)


Blockworks, “OpenSea Polygon NFT Sales On        Blockworks      1/6/2022    YUGALABS_00033686     N/A
Track to Hit 2.2M by End of January,” January
6, 2022 (https://blockworks.co/news/opensea-
polygon-nft-sales-on-track-to-hit-2-2m-by-end-
of-january, viewed on February 3, 2023)




                                                           45
                  Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 47 of 73 Page ID
                                                   #:20402


                     Title                           Author         Date            Bates No.      Trial Exh.
                                                                                                      No.
Bloomberg Law, “Fake Bored Ape Yacht Club        Bloomberg Law    6/27/2022   YUGALABS_00033477    N/A
NFTs Sold by Artist, Yuga Labs Claims,” June
27, 2022 (https://news.bloomberglaw.com/ip-
law/fake-bored-ape-yacht-club-nfts-sold-by-
artist-yuga-labs-claims, viewed on February 6,
2023)



Bloomberg, “NFT Trading Volumes Collapse         Bloomberg        9/28/2022   YUGALABS_00033648    N/A
97% From January Peak,” September 28, 2022
(https://www.bloomberg.com/news/articles/202
2-09-28/nft-volumes-tumble-97-from-2022-
highs-asfrenzy-fades-
chart?leadSource=uverify%20wall, viewed on
January 27, 2023)




                                                             46
                  Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 48 of 73 Page ID
                                                   #:20403


                     Title                             Author       Date            Bates No.      Trial Exh.
                                                                                                      No.
Business Wire, “Yuga Labs Pledges $1M to    Business Wire         10/12/2022 YUGALABS_00033991     N/A
Education and Arts Initiatives in City of
Miami,” October 12, 2022
(https://www.businesswire.com/news/home/202
21012005230/en/Yuga-Labs-Pledges-1M-to-
Education-and-Arts-Initiatives-in-City-of-
Miami/, viewed on February 5, 2023)



Chain Debrief, “From 0.08 To 769 ETH:             Chain Debrief   3/12/2022   YUGALABS_00033459    N/A
Exploring The History And Rise Of The Bored
Apes,” March 12, 2022
(https://chaindebrief.com/bored-ape-yacht-club-
history-rise-of-bayc/, viewed on January 25,
2023)



CNET, “Bored Ape Yacht Club NFTs                  CNET            8/11/2022   YUGALABS_00033373    N/A
Explained,” August 11, 2022
(https://www.cnet.com/culture/internet/bored-
ape-yacht-club-nfts-explained/, viewed on
January 25, 2023)




                                                            47
                  Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 49 of 73 Page ID
                                                   #:20404


                    Title                           Author          Date            Bates No.      Trial Exh.
                                                                                                      No.
Coin Gecko, “Bored Ape Yacht Club (BAYC)”       Coin Gecko       N/A         YUGALABS_00033368     N/A
(https://www.coingecko.com/en/nft/bored-ape-
yachtclub, viewed on February 4, 2023)


Coin Gecko, “RR/BAYC”                           Coin Gecko       N/A         YUGALABS_00033714     JTX-1616
(https://www.coingecko.com/en/nft/rr-bayc,
viewed on February 3, 2023)
CoinDesk, “CryptoPunks Gets Punked,” July 6, CoinDesk            7/6/2021    YUGALABS_00033409     N/A
2021
(https://www.coindesk.com/markets/2021/07/06
/cryptopunks-get-punked/, viewed on January
24, 2023)

CoinDesk, “NFT Marketplaces: A Beginner’s       CoinDesk         N/A         YUGALABS_00033640     N/A
Guide”
(https://www.coindesk.com/tech/2021/07/12/nft
marketplaces-a-beginners-guide/, viewed on
January 22, 2023)




                                                           48
                  Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 50 of 73 Page ID
                                                   #:20405


                     Title                            Author        Date            Bates No.      Trial Exh.
                                                                                                      No.
Crunchbase, “Yuga Labs – About”                  Crunchbase      N/A         YUGALABS_00033987     N/A
(https://www.crunchbase.com/organization/yug
a-labs, viewed on January 19, 2023)


CryptoSlate, “Yuga Labs”                         CryptoSlate     N/A         YUGALABS_00033993     N/A
(https://cryptoslate.com/companies/yuga-labs/,
viewed on January 19, 2023)

DEXter Lab, “Dookey Dash: Yuga Labs Skill-       DEXter Lab      1/23/2023   YUGALABS_00033430     N/A
Based NFT Game”, January 23, 2023
(https://dexterlab.com/dookey-dash-yuga-labs-
skill-based-nft-game/amp/, viewed on January
31, 2023)


Ethereum, “Gas and Fees,” February 2, 2023       Ethereum        N/A         YUGALABS_00033480     N/A
(https://ethereum.org/en/developers/docs/gas/,
viewed on February 3, 2023)


Ethereum, “Introduction to Smart Contracts”      Ethereum        N/A         YUGALABS_00033744     N/A
(https://ethereum.org/en/smart-contracts/,
viewed on January 22, 2023)



                                                            49
                  Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 51 of 73 Page ID
                                                   #:20406


                     Title                         Author           Date            Bates No.      Trial Exh.
                                                                                                      No.
Ethereum, “Logging Data from Smart Contracts Ethereum            4/2/2020    YUGALABS_00033598     N/A
with Events,” April 2, 2020
(https://ethereum.org/en/developers/tutorials/log
ging-events-smart-contracts/, viewed on
February 5, 2023)


Ethereum, “Non-fungible tokens (NFT)”         Ethereum           N/A         YUGALABS_00033662     N/A
(https://ethereum.org/en/nft/#:~:text=A%20way
%20to%20represent%20anything,contracts%20
on%20the%20Ethereum%20blockchain, viewed
on January 22, 2023)



Ethereum, “What is Ethereum?”                 Ethereum           N/A         YUGALABS_00033867     N/A
(https://ethereum.org/en/what-is-ethereum/,
viewed on January 19, 2023)




                                                         50
                 Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 52 of 73 Page ID
                                                  #:20407


                    Title                          Author          Date            Bates No.      Trial Exh.
                                                                                                     No.
Fast Company, “Bored Ape Yacht Club tell all: Fast Company      10/26/2022 YUGALABS_00033388      N/A
The untold story of the $4 billion crypto
startup,” October 26, 2022
(https://www.fastcompany.com/90796009/bored
-ape-yacht-club-tell-all-the-untold-story-of-the-
4-billion-crypto-startup, viewed on January 25,
2023)




Forbes, “This Is No Mere Monkey Business”      Forbes           N/A         YUGALABS_00033995     N/A
Yuga Labs, Bored Ape Yacht Club Creator,
Files Lawsuit Against Self-Proclaimed
‘Conceptual Artist’
(https://www.forbes.com/sites/megchristensen/2
022/06/27/this-is-no-mere-monkey-business-
yuga-labsbored-ape-yacht-club-creator-files-
lawsuit-against-self-proclaimed-conceptual-
artist/?sh=67d1021e567f, viewed on February 6,
2023)




                                                        51
                  Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 53 of 73 Page ID
                                                   #:20408


                     Title                             Author       Date            Bates No.      Trial Exh.
                                                                                                      No.
Fortune, “Bored Ape Yacht Club and its            Fortune        3/18/2022   YUGALABS_00033360     N/A
multibillion-dollar ApeCoin, explained: What
they are and how investors got rich,” March 18,
2022 (https://fortune.com/2022/03/18/what-is-
bored-ape-yacht-club-nftapecoin-explained/,
viewed on January 25, 2023)




Foundation, "What is Foundation's marketplace Foundation         N/A         YUGALABS_00033887     N/A
fee?"
(https://help.foundation.app/hc/enus/articles/441
9440106011-What-is-Foundation-s-
marketplace-fee-, viewed on February 2, 2023)



Gartner, “What Is a Metaverse? And Should         Gartner        10/21/2022 YUGALABS_00033838      N/A
You Be Buying In?” October 21, 2022
(https://www.gartner.com/en/articles/what-is-a-
metaverse, viewed on January 31, 2023)




                                                            52
                  Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 54 of 73 Page ID
                                                   #:20409


                     Title                             Author         Date           Bates No.      Trial Exh.
                                                                                                       No.
Harvard Business Review, "What Is Web3?”         Harvard Business   5/10/2022   YUGALABS_00033930   N/A
May 10, 2022 (https://hbr.org/2022/05/what-is-   Review
web3/, viewed on February 5, 2023)


IBM, “What are smart contracts on                IBM                N/A         YUGALABS_00033807   N/A
blockchain?”
(https://www.ibm.com/topics/smart-contracts,
viewed on January 22, 2023)
IBM, “What is Blockchain Technology?”            IBM                N/A         YUGALABS_00033846   N/A
(https://www.ibm.com/topics/what-is-
blockchain, viewed on January 19, 2023)


Investopedia, “Non-Fungible Token (NFT):         Investopedia       6/22/2022   YUGALABS_00033653   N/A
What It Means and How It Works,” June 22,
2022 (https://www.investopedia.com/non-
fungible-tokens-nft-5115211, viewed on
January 22, 2023)




                                                           53
                 Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 55 of 73 Page ID
                                                  #:20410


                    Title                           Author         Date            Bates No.      Trial Exh.
                                                                                                     No.
Investopedia, “What Are Smart Contracts on the Investopedia      3/24/2022   YUGALABS_00033817    N/A
Blockchain and How They Work,” March 24,
2022
(https://www.investopedia.com/terms/s/smart-
contracts.asp, viewed on January 22, 2023)


Investopedia, “What is OpenSea?”               Investopedia      N/A         YUGALABS_00033902    N/A
(https://www.investopedia.com/what-is-
opensea-6362477, viewed on January 22, 2023)


IP & Media Law Updates, “Reflections on         IP & Media Law   1/31/2023   YUGALABS_00033709    N/A
BAYC’s revolutionary NFT license,” January      Updates
31, 2023
(https://ipandmedialaw.fkks.com/post/102i6pp/r
eflections-on-baycs-revolutionary-nft-license/,
viewed on February 3, 2023)



Kraken, “What is Bored Ape Kennel Club?”       Kraken            N/A         YUGALABS_00033859    N/A
(https://www.kraken.com/learn/what-is-bored-
ape-kennelclub-nft/, viewed on February 2,
2023)



                                                         54
                   Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 56 of 73 Page ID
                                                    #:20411


                      Title                            Author        Date            Bates No.      Trial Exh.
                                                                                                       No.
Kraken, “What is Mutant Ape Yacht Club?”        Kraken            N/A         YUGALABS_00033893     N/A
(https://www.kraken.com/learn/what-is-mutant-
ape-yachtclub-nft/, viewed on January 23, 2023)


McKinsey & Company, “What is the                   McKinsey &     8/17/2022   YUGALABS_00033914     N/A
metaverse?” August 17, 2022                        Company
(https://www.mckinsey.com/featuredinsights/m
ckinsey-explainers/what-is-the-metaverse,
viewed on January 31, 2023)


Medium, “Step-by-Step Guide to Registering a       Medium         5/4/2019    YUGALABS_00033773     N/A
.ETH Name,” May 4, 2019
(https://medium.com/theethereum-name-
service/step-by-step-guide-to-registering-a-eth-
name-on-the-new-ens-registrarc07d3ab9d6a6/,
viewed on February 5, 2023)




                                                            55
                   Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 57 of 73 Page ID
                                                    #:20412


                      Title                            Author          Date           Bates No.      Trial Exh.
                                                                                                        No.
New York University Stern School of Business,     New York           N/A         YUGALABS_00033773   N/A
Faculty Directory, “Hanna Halaburda –             University Stern
Associate Professor of Technology, Operations,    School of
and Statistics”                                   Business
(https://www.stern.nyu.edu/faculty/bio/hannahal
aburda, viewed on January 27, 2023)



NFGTO, RR/BAYC                                    NFGTO              N/A         YUGALABS_00033713   N/A
(https://nftgo.io/collection/rrbayc/overview,
viewed on February 6, 2023)
NFT Evening, “BAYC’s First Annual Ape Fest NFT Evening               11/1/2021   YUGALABS_00033319   N/A
Kicks Off With a Bang!,” November 1, 2021
(https://nftevening.com/baycs-first-annual-ape-
fest-kicks-off-with-a-bang/, viewed on February
3, 2023)




                                                            56
                  Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 58 of 73 Page ID
                                                   #:20413


                     Title                         Author           Date            Bates No.      Trial Exh.
                                                                                                      No.
NFT Now, “21 Celebrities Who Have Jumped        NFT Now          11/18/2021 YUGALABS_00033752      N/A
Into the Bored Ape Yacht Club,” November 18,
2021 (https://nftnow.com/culture/celebrities-
who-have-bored-ape-yacht-club-nfts/, viewed
on January 31, 2023)



NFT Now, “A Complete and Simple Guide to        NFT Now          6/9/2022    YUGALABS_00033300     N/A
the Top 10 NFT Marketplaces,” June 9, 2022
(https://nftnow.com/guides/a-complete-and-
simple-guide-to-the-top-10-nft-marketplaces/,
viewed on February 3, 2023)



Nick Szabo, “Smart Contracts,” 1994            Nick Szabo        6/16/1905   YUGALABS_00033650     N/A
(https://www.fon.hum.uva.nl/rob/Courses/Infor
mationInSpeech/CDROM/Literature/LOTwinter
school2006/szabo.best.vwh.net/smart.contracts.
html, viewed on January 22, 2023)




                                                          57
                  Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 59 of 73 Page ID
                                                   #:20414


                     Title                            Author        Date            Bates No.      Trial Exh.
                                                                                                      No.
OpenSea, “How do creator earnings work on         OpenSea        N/A         YUGALABS_00033537     N/A
OpenSea?”
(https://support.opensea.io/hc/enus/articles/1500
009575482-How-do-creator-earnings-work-on-
OpenSea-, viewed on January 26, 2023)



OpenSea, “How do I buy NFTs with a credit or OpenSea             N/A         YUGALABS_00033544     N/A
debit card?”
(https://support.opensea.io/hc/enus/articles/4413
380935187-How-do-I-buy-NFTs-with-a-credit-
or-debit-card-, viewed on February 2, 2023)



OpenSea, “What is Minting?” December 15,          OpenSea        12/15/2022 YUGALABS_00033890      N/A
2022 (https://opensea.io/learn/what-is-minting-
nft, viewed on January 22, 2023)




                                                            58
                   Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 60 of 73 Page ID
                                                    #:20415


                      Title                             Author       Date            Bates No.      Trial Exh.
                                                                                                       No.
OpenSea, “Which blockchains are compatible        OpenSea         N/A         YUGALABS_00033950     N/A
with OpenSea?”
(https://support.opensea.io/hc/enus/articles/4404
027708051-Which-blockchains-are-compatible-
with-OpenSea-, viewed on January 22, 2023)



OpenSea, “Who is OpenSea?”                         OpenSea        N/A         YUGALABS_00033959     N/A
(https://opensea.io/learn/who-is-opensea#toc-0,
viewed on January 22, 2023)


OpenSea, RR/BAYC                                   OpenSea        N/A         YUGALABS_00033702     N/A
(https://opensea.io/collection/rrbayc, viewed on
February 5, 2023)
Rarity, “Bored Ape Kennel Club Ranked by           Rarity         N/A         YUGALABS_00033345     N/A
Rarity” (https://rarity.tools/bored-ape-kennel-
club/, viewed on February 2, 2023)




                                                             59
                  Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 61 of 73 Page ID
                                                   #:20416


                     Title                            Author        Date            Bates No.      Trial Exh.
                                                                                                      No.
Rolling Stone, “How Four NFT Novices             Rolling Stone   N/A         YUGALABS_00033514     N/A
Created a Billion-Dollar Ecosystem of Cartoon
Apes,” November 1, 2021
(https://www.rollingstone.com/culture/culture-
news/bayc-bored-ape-yacht-club-nftinterview-
1250461/, viewed on January 25, 2023)




RR/BAYC (https:/rrbayc.com/, viewed on           Ryder Ripps     N/A         YUGALABS_00033719     N/A
January 26, 2023)


Ryder Ripps Website (https://ryder-ripps.com/,   Ryder Ripps     N/A         YUGALABS_00033740     N/A
viewed on January 19, 2023)


Seeking Alpha, “What Are NFT Royalties &         Seeking Alpha   5/27/2022   YUGALABS_00033552     N/A
How Do They Work?” May 27, 2022
(https://seekingalpha.com/article/4483346-nft-
royalties, viewed on January 31, 2023)




                                                           60
                 Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 62 of 73 Page ID
                                                  #:20417


                    Title                           Author          Date           Bates No.      Trial Exh.
                                                                                                     No.
SoFi Learn, “What Does Minting an NFT        SoFi Learn          9/9/2022   YUGALABS_00033827     N/A
Mean?” September 9, 2022
(https://www.sofi.com/learn/content/what-is-
nft-
minting/#:~:text=Minting%20an%20NFT%2C
%20or%20non,bought%2C%20sold%2C%20an
d%20traded, viewed on January 22, 2023)


Start with NFTs, “Explaining the Rise of Bored Start with NFTs   9/6/2021   YUGALABS_00033437     N/A
Ape Yacht Club - The NFT Project Making
History,” September 6, 2021
(https://www.startwithnfts.com/posts/explaining
-the-rise-of-bored-ape-yacht-club-thenft-
project-making-history/, viewed on January 25,
2023)



The Block, “Bored Ape Yacht Club ends 2022     The Block         12/31/2022 YUGALABS_00033779     N/A
with 69 ETH floor price,” December 31, 2022
(https://www.theblock.co/post/198625/bored-
ape-yacht-club-ends-2022-with-69-eth-floor-
price, viewed on January 27, 2023)




                                                           61
                  Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 63 of 73 Page ID
                                                   #:20418


                     Title                          Author          Date            Bates No.      Trial Exh.
                                                                                                      No.
The Block, “How Bored Apes became the           The Block        6/22/2022   YUGALABS_00033783     N/A
foundation for a metaverse,” June 22, 2022,
(https://www.theblock.co/post/153349/how-
bored-apes-became-the-foundation-for-a-
metaverse, viewed on February 2, 2023)




The New York Times, “Thefts, Fraud and          The New York     6/6/2022    YUGALABS_00033798     N/A
Lawsuits at the World’s Biggest NFT             Times
Marketplace,” June 6, 2022
(https://www.nytimes.com/2022/06/06/technolo
gy/nft-opensea-theft-fraud.html, viewed on
January 25, 2023)


The New Yorker, “Why Bored Ape Avatars are      The New Yorker   7/30/2021   YUGALABS_00033962     JTX-617
Taking Over Twitter,” July 30, 2021.
(https://www.newyorker.com/culture/infinite-
scroll/why-bored-ape-avatars-are-taking-over-
twitter/, viewed on January 23, 2023)




                                                            62
                   Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 64 of 73 Page ID
                                                    #:20419


                     Title                          Author           Date            Bates No.      Trial Exh.
                                                                                                       No.
The Verge, “Bored Ape Yacht Club creator        The Verge         3/22/2022   YUGALABS_00033354     N/A
raises $450 million to build an NFT metaverse,”
March 22, 2022
(https://www.theverge.com/2022/3/22/2299127
2/yuga-labs-seed-funding-a16z-bored-ape-
yachtclub-bayc-metaverse-other-side/, viewed
on February 3, 2023)



Twitter (@ryder_ripps)                          Ryder Ripps       N/A         YUGALABS_00033726     N/A
(https://twitter.com/ryder_ripps, viewed on
January 19, 2023)
Wired, “How Did the Bored Ape Yacht Club        Wired             2/8/2022    YUGALABS_00033527     N/A
Get So Popular?” February 8, 2022
(https://www.wired.com/story/celebrity-nfts/,
viewed on January 25, 2023)

X2Y2, “Trading Rewards”                         X2Y2              N/A         YUGALABS_00033801     N/A
(https://docs.x2y2.io/tokens/rewards/trading-
rewards, viewed on February 2, 2023)




                                                            63
                 Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 65 of 73 Page ID
                                                  #:20420


                    Title                         Author           Date            Bates No.      Trial Exh.
                                                                                                     No.
Yahoo Finance, “2022, the year NFTs fell to   Yahoo Finance     12/28/2022 YUGALABS_00033975      N/A
earth,” December 28, 2022
(https://news.yahoo.com/nftcrypto-2022-
bitcoin-ethereum-060050452.html, viewed on
January 27, 2023)




                                                       64
                   Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 66 of 73 Page ID
                                                    #:20421


                                                        Statements

              Source                                                    Statement Excerpt
Deposition of Greg Solano, 2023,  “Q. The public announcement of those celebrities’ ownership of a BAYC NFT
187:3-9                           contributed to the BAYC brand’s popularity; correct? […] A. I would think of it as a
                                  demonstration of the BAYC brand’s existing popularity.”
Deposition of Greg Solano, 2023,  “Q. When was Yuga Labs founded? […] A. We filed LLC documents, I believe, in -- in
38:9-23                           early 2021. […] Q. Why did you form Yuga Labs, LLC in 2021? […] A. We -- or I
                                  wanted to launch an NFT collection, start a business.”
Deposition of Greg Solano, 2023,  “Q. There's a Yuga Labs product by the name of OtherSide; correct? […] A. OtherSide
92:11-16                          is a product that we work with Animoca Brands on as well as other partners and the
                                  OtherSide community.”
Deposition of Jeremy Cahen, 2023, “[Mr. Cahen’s accounting is] all completely public on the blockchain locker. So anyone
111:4-6                           has access to it.”
Deposition of Jeremy Cahen, 2023, “[…] me and my friend Ryder […].”
128:20
Deposition of Jeremy Cahen, 2023, “Q Who is your current employer? A I’m self-employed I would say. […] Q Of what
13:23-17:9                        you did in 2022 as a self-employed individual. A I do a lot of different things. Q Can
                                  you please provide an example? A Let me try to think. Does it have to be something
                                  that produces income? I don’t understand -- that's sort of -- the reason it’s a difficult
                                  question to answer is because the nature of what I do is hard to even explain. It's a –
                                  you know, I’m involved with cryptocurrency and cryptocurrency is a new field. So you
                                  know, that's one of the funny things about it is that if someone asks me what do I do,
                                  it’s quite difficult to explain. So it’s difficult to answer your question.”
Deposition of Jeremy Cahen, 2023, “Q. How many times were you paid out a profit share for the RR BAYC project? A. I
221-222                           don’t know. Q. More -- more than once? A. I certainly think it was more than once. I
                                  don’t think that -- I don’t think that distributions were made in it one lump sum. If I
                                  recall correctly, there was a system designed that automatically distributed based on the



                                                             65
                    Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 67 of 73 Page ID
                                                     #:20422


              Source                                                       Statement Excerpt
                                      percentage share that each team member had. Q. What was your percentage share? A.
                                      If I recall correctly, it was 15 percent.”




Deposition of Jeremy Cahen, 2023, “Q You just said you have various sources of income. What are those sources? A I still
23:20-24:8                        don’t understand how you would define ‘income.’ I think that in order -- and I use the
                                  word because I’m responding to you. But like I stated before, I don’t understand what
                                  our working definition of ‘income’ is. And I’m happy to answer the question. But it
                                  would be helpful if we could define what that means. Q Money coming to you. A
                                  Sources of money coming to me. Friends have sent me money. I’ve made money from
                                  trading digital assets. I’ve made money from real estate that I own. Those are things
                                  that come to mind.”
Deposition of Jeremy Cahen, 2023, “It’s unclear what we are going to decide to do with [creator fees].”
250:21-251:3
Deposition of Jeremy Cahen, 2023, “Q. And how many RR BAYC NFT’s do you currently possess? [...] A. I think more
255:15-24                         than ten. I would think somewhere between ten and 100 would be my guess.”
Deposition of Jeremy Cahen, 2023, “Q. What is the value of those RR BAYC's NFT's approximately right now? A. I think
255:25-256:7                      that the value of them is pretty much the same as when they were originally being
                                  produced by the artist Ryder Ripps. Q. And what is that? A. Anywhere between .1
                                  Ethereum and .15 Ethereum is my recollection.”
Deposition of Jeremy Cahen, 2023, “He's also one of my best friends.”
261:25-262:1
Deposition of Jeremy Cahen, 2023, “Q […] When did you first meet Mr. Ripps? […] A […] I think it would probably be in
269:24-270:10                     like the first quarter of 2021 is -- if Im guessing. I have a terrible concept of time, but I
                                  think it was early 2021. Maybe mid 2021. And I’m just guessing here.”



                                                               66
                   Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 68 of 73 Page ID
                                                    #:20423


              Source                                                   Statement Excerpt
Deposition of Jeremy Cahen, 2023, “So I wanted to be there in support of the artist and friend of mine.”
291:18-19
Deposition of Jeremy Cahen, 2023, “Q. And you’ve got here expenses next to your line Jeremy, 11,000. A. I see that, yeah.
291:6-19                          Q. What is -- what makes up that number? A. My -- that was pretty recent. I'm pretty
                                  sure what that covers is I had to buy a new machine which I used for the project. And
                                  then there was one travel event. And those expenses I would consider part of my
                                  contribution to the project. Q. What was the travel? A I went to New York. Q. What did
                                  you go to New York for? A Ryder was there. So I wanted to be there in support of the
                                  artist and friend of mine.”
Deposition of Jeremy Cahen, 2023, “If you are referring to the RR BAYC NFT’s created by Ryder Ripps, that would be on
299:7-10                          the Ethereum blockchain, yes. So I think Etherscan would be a good reverse for that.”
Deposition of Jeremy Cahen, 2023, “[…] my friend and partner's art […].”
304:24-305:2
Deposition of Jeremy Cahen, 2023, “He's my friend.”
67:17
Deposition of Jeremy Cahen, 2023, “He's my friend.”
68:2
Deposition of Jeremy Cahen, 2023, “Q Outside of communications with your attorneys, have you ever e-mailed with Mr.
70:3-7                            Ripps? A No. We are friends.”
Deposition of Kerem Atalay, 2023, “Q And if somebody wanted to learn about RR/BAYC NFTs, they could do the same.
147:24-148:16 (rough) / 153:12-   They can go on Twitter and read posts from the creators of RR/BAYCs; is that right?
154:4 (final)                     [...] A One could do that. I think it's likelier that they would -- a casual person -- like,
                                  sort of, user of Twitter might misinterpret, honestly, what they were interacting with,
                                  however, because they hijacked all of our marks, taken our NFT images and associated
                                  their accounts with them. So somebody might learn something about RR/BAYC. They
                                  probably would be actually misled into believing that they were learning something
                                  about our brands.”



                                                              67
                   Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 69 of 73 Page ID
                                                    #:20424


              Source                                                    Statement Excerpt
Deposition of Nicole Muniz, 2023,     “Q. And then, there's a heading under 'Terms and Conditions' that says 'Ownership.'
118:8-11 (rough) / 131:5-8 (final)    You see that, right? A. Yes.”
Deposition of Nicole Muniz, 2023,     “If you go -- I mean, I'd have to -- to be totally honest with you, I don't remember every
239:10-19 (rough) / 256:19-257:3      single step. So I'd have to pull up the website, and then, I could describe it as I'm doing
(final)                               it. But if you were to search "Bored Ape Yacht Club" - this is where the confusion was
                                      before - the RR/BAYC would actually almost -- like, in search results, it would come
                                      up first, but off -- the actual accurate BAYC collection is there, and it should come up
                                      if you search it.”
Deposition of Nicole Muniz, 2023,     “I can't possibly know every single purchaser. I do know that people were confused.”
240:19-20 (rough) / 258:2-3 (final)
Deposition of Nicole Muniz, 2023,     “I know for a fact that there was confusion. Q. Can Yuga Labs identify a single person
241:3-242:12 (rough) / 258:14-        who purchased an RR/BAYC NFT believing it to be sponsored by Yuga Labs? [...] A.
259:24 (final)                        Again, I'm not a lawyer. I cannot speak to the legal details. There is no way for me to
                                      know or for us to know every single person that purchased, what was -- what they knew
                                      and what they thought from original to secondary. Q. And maybe I'm not being
                                      clearing. I'm not asking for every single person, original or secondary. I'm asking for
                                      anyone. Can Yuga Labs identify any single person who purchased an RR/BAYC
                                      believing it to be sponsored by Yuga Labs. [...] A. I believe that there are people that
                                      were confused. It's possible and likely that purchasers were confused. Was that
                                      confusion cleared up by the time they purchased? I don't know. But I do know that
                                      everything that we've been talking about here, right -- we're looking at this screenshot
                                      that came from you, this Exhibit 248, this is confusing. This is going back to the
                                      LVMH bags, this is the Chinatown fakes but on the same -- but in the same store, so --
                                      or in the same mall, sorry. And so, you come in and you're like, 'Oh, wait this is
                                      BAYC.' Maybe by the time they get there they're like, 'Oh, it's not BAYC, but it's
                                      cheaper, and it looks like it, so okay,' but it's coercing people in with our trademarks
                                      and our brand.”

                                                               68
                   Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 70 of 73 Page ID
                                                    #:20425


              Source                                                      Statement Excerpt
Deposition of Nicole Muniz, 2023,     “No. No, we didn't make the BAYC out of any type of hatred. Like, not at all. Like, it
253:3-10 (rough) / 270:20-271:3       was genuinely meant to be fun and irreverent. And it's so stupid. I mean, we have a
(final)                               game about poop right now out in the world, and people are playing it. Like, lots of
                                      people are playing it, and it's about poop. Like, it's a stupid brand with a stupid story,
                                      and it's just meant to be fun.”
Deposition of Nicole Muniz, 2023,     “So the creators' fees are applied right now by, like, the marketplaces. So if it's sold on,
57:6-13 (rough) / 65:24 - 66:7        like, OpenSea and others such as OpenSea, we will get a creators' fee. And the creators'
(final)                               fee is pretty prominently displayed. So, for instance, if you go to Bored Ape Yacht
                                      Club's page on OpenSea, you'll actually see, like, pretty clearly that there's a creators'
                                      fee, and the same goes for others.”
Deposition of Nicole Muniz, 2023,     “We have a creators' fee. We created them. We created the work. It's how this entire
58:9-11 (rough) / 67:4-6 (final)      industry works right now.”
Deposition of Nicole Muniz, 2023,     “It became problematic once there was, like, very real confusion. Once there was a
88:1-3 (rough) / 98:25-99:2 (final)   Bloomberg piece, that confused them […]”
Deposition of Nicole Muniz, 2023,     “We do games, story -- scripted storytelling. We have NFT collections. We have
9:22-10:11 (rough) / 16:19-17:7       merchandising. We do events in -- as well. Q. […] One of Yuga's categories of
(final)                               products is NFT collections; right? A. Yes.”
Deposition of Ryan Hickman,           “Q. He goes on. ‘So we are all equally incentivized 15 percent of mint plus 15 percent
2022, 126:12-24                       of Ryder’s share of royalties.’ Do you see that? A. Yes. Q. Was that the ultimate
                                      financial terms that the four of you came together around for your work on the RSVP
                                      contract? A. It is the right financial arrangement. I’m not certain of -- not really aware
                                      of understanding it as, like, a business partnership. But definitely being compensated 15
                                      percent of the proceeds and -- so yes.”
Deposition of Ryan Hickman,           “Q. What is Exhibit 28 an image of? A. This is the Foundation website. Q. For what?
2022, 149:24-152:3                    A. Looks to be Bored Ape Yacht Club. No, this is the -- this is the – it looks like it's
                                      Ryder's page. Yeah.”


                                                                69
                 Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 71 of 73 Page ID
                                                  #:20426


              Source                                                   Statement Excerpt
Deposition of Ryan Hickman,      “I believe we ran a script to randomly select 500 IDs to use to give away, to use for
2022, 165:23-166:8               support of -- there was an event, a social event. I don’t remember who it was. But to
                                 give some away at this social event to help with the activation. Q. What do you mean
                                 by ‘to help with the activation’? A. To help spread awareness around what this was all
                                 about, what the RR/BAYC.com and the Gordongoner.com websites were about.”
Deposition of Ryan Hickman,      “Q. Fair to say you are not a member of Live 9000 LLC? A. Oh, 1,000 percent not a
2022, 184:11-13                  member.”
Deposition of Ryan Hickman,      “But what we communicated publicly, once we hit 10,000 of the RR/BAYC, all of
2022, 211:11-212:17              them, then we'll put the marketplace out. And there was a rapid increase in volume on
                                 the -- I don't know the specific date. But I'll call it the first day of ApeFest. Somebody
                                 made a documentary and released a documentary, and the documentary was seen by
                                 millions of people and it really amplified the mission. It amplified the narrative. It
                                 created a lot of visibility into all of this. And there were nearly 3,000, I believe, or more
                                 reservations all within in that first hour or so. And we went from, you know, kind of
                                 going really slow and we'd seen we had a nice horizon in front of us to, wow, it feels
                                 like it's days away.”
Deposition of Ryan Hickman,      “So the – so classifying the mint, what we did, or in this context, was created the
2022, 77:15-78:6                 reservation system that allowed Ryder to more rapidly handle the reservations. Because
                                 when he was doing it, he would issue the -- people would reserve over Twitter in
                                 public, and they would say, I want Number 4. I want Number 32. He would get that
                                 artwork. He would go to the public domain on Google, copy it -- or IPFS, copy it and
                                 load it onto the Foundation contract by hand. When he would give it to the person
                                 through a Foundation, the way that their system is designed allowed other people to
                                 snipe them. So people would expect to get something and they wouldn't be able to get it
                                 even though they paid for it.”




                                                           70
                  Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 72 of 73 Page ID
                                                   #:20427


              Source                                                  Statement Excerpt
Deposition of Ryder Ripps, 2023,   “Q. Why did you change the price of the RR/BAYCs from .1 ETH to.15 ETH? […] A.
123:10-124:9                       And -- oh, so to answer your question, when the project went from just me to involving
                                   the three other individuals who I mentioned, I think collectively we found it appropriate
                                   to increase the price for, you know, to think about, you know, others.”
Deposition of Ryder Ripps, 2023,   “Q. And did you grant them full personal and commercial rights? A. Absolutely not.”
131:4-6
Deposition of Ryder Ripps, 2023,   “Q. Did you ever apply for a trademark registration in RR/BAYC? A. No.”
150:8-10
Deposition of Ryder Ripps, 2023,   “The LIVE9000 entity was set up for my Kraken account which is a cryptocurrency
160:24-161:10                      exchange […] So, yes, if I made capital with RR/BAYC in the form of ETH, it
                                   probably has transferred to the LLC LIVE9000 in terms of the -- whatever, the crypto
                                   exchange, whatever you call it, private exchange.”
Deposition of Ryder Ripps, 2023,   “Q. You say ‘Need ten for my dad.’ A. Okay. Q. And then, there's a -- is that a wallet
170:24-171:9                       address? A. It looks like a wallet address, yes. Q. And it says ‘This is for your dad. I’ll
                                   mint his now.’ So was Mr. Garner minting RR/BAYC NFTs for you? A. I minted them
                                   all because they were from my wallet, so no.”
Deposition of Ryder Ripps, 2023,   “Q. Other than owning possession of the wallet from which you claim that the
173:12-16                          RR/BAYC NFTs were minted, how were the ten that were sent to your father -- A.
                                   They weren't sent to my father.”
Deposition of Ryder Ripps, 2023,   “When did you transfer ETH relating to the RR/BAYC NFT to LIVE9000, LLC? A.
177:17-178:4                       I’m not sure. Q. You’re not sure when you transferred, and you’re not sure how much
                                   you transferred? A. That’s correct. I mean, I definitely made transfers. I don’t – I can’t
                                   tell you the amounts or the dates right now. Q. And what bank does the LLC --
                                   LIVE9000 LLC, operate with? A. Chase.”
Deposition of Ryder Ripps, 2023,   “Q. Do you have a current employer, sir? A. I’m self employed.”
18:13-14
Deposition of Ryder Ripps, 2023,   “I think the first few were free. And then, maybe 0.1 ETH.”
194:11-12

                                                             71
                  Case 2:22-cv-04355-JFW-JEM Document 268-4 Filed 06/05/23 Page 73 of 73 Page ID
                                                   #:20428


              Source                                                   Statement Excerpt
Deposition of Ryder Ripps, 2023,   “Q. Have you ever told -- have you ever said on Twitter that you would -- all
228:1-9                            LooksRare royalties gained will be donated to a charity? A. I believe that was one of
                                   the ideas of what to do with the royalties that we actually didn’t want on LooksRare.
                                   And we still have not figured out what to do with those royalties. Q. Have you donated
                                   them to charity? A. No.”
Deposition of Ryder Ripps, 2023,   “Q. And so, what does the pre-RSVP refer to? A. It refers to – there’s a separate –
240:10-14                          what’s called a -- I think a helper contract that was designed by Ryan [Hickman] and
                                   Tom [Lehman] to help facilitate the minting and creation of my artwork.”
Deposition of Ryder Ripps, 2023,   “Q. And what are your expenses here? A. I think -- you mean this 3,500 -- Q. Yes. A. I
241:12-16                          think that’s the money that I paid my assistant who Jeremy introduced me to, this kid
                                   Ian.”
Deposition of Ryder Ripps, 2023,   “They were all minted from my wallet.”
243:21-22
Deposition of Ryder Ripps, 2023,   “They were first minted on Foundation.”
60:21-22
Deposition of Ryder Ripps, 2023,   “RR/BAYC - the NFT project […] was minted, I think, mid May”
68:22-23
Deposition of Ryder Ripps, 2023,   “We did not want to accept [creator fees] for RR/BAYC, I didn’t think it was in the
89:17-19                           spirit of the art piece.”
Deposition of Ryder Ripps, 2023,   “I think it was around 70 ETH from LooksRare royalty of my artwork, RR/BAYC went
90:13-16                           into my wallet, something like that.”




                                                           72
